      Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 1 of 66

                                                   APPEAL,CLOSED,EFILE,MOTREF,RAR,REFDIS
                                    U.S. District Court
                          District of Connecticut (New Haven)
                   CIVIL DOCKET FOR CASE #: 3:16−cv−01345−AWT

Vellali et al v. Yale University et al                     Date Filed: 08/09/2016
Assigned to: Judge Alvin W. Thompson                       Date Terminated: 07/13/2023
Cause: 28:1132 E.R.I.S.A.                                  Jury Demand: Plaintiff
                                                           Nature of Suit: 791 Labor: E.R.I.S.A.
                                                           Jurisdiction: Federal Question
Plaintiff
Joseph Vellali                               represented by Ari J. Hoffman
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behalf of the Yale University Retirement                    Bridgeport, CT 06604
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      Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 5 of 66

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Plaintiff
      Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 6 of 66

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      Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 7 of 66


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Plaintiff
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     Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 8 of 66

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    Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 11 of 66

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     Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 12 of 66

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 Date Filed    #   Docket Text
    Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 13 of 66

07/25/2023   628 NOTICE OF APPEAL as to 622 Judgment, by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. Filing fee $ 505, receipt number ACTDC−7426486.
                 (Stump, Nathan) (Entered: 07/25/2023)
07/20/2023   627 OBJECTIONS to the Jury Charge filed by Joseph Vellali, Nancy S. Lowers, Jan M.
                 Taschner, James Mancini, Yale University, Michael A. Peel, The Retirement Plan
                 Fiduciary Committee. (Ferguson, L.) (Entered: 07/20/2023)
07/14/2023   626 OBJECTION to Jury Charges filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Rohlf, Joel) (Entered: 07/14/2023)
07/14/2023   625 Redaction of 592 Transcript, held on 06/12/23 before Judge Alvin W. Thompson for
                 dates of 06/12/23, Court Reporter: Alicia A. Cayode Kyles, Type of Hearing: Jury
                 Trial. (Cayode Kyles, Alicia) (Entered: 07/14/2023)
07/14/2023   624 Redaction of 588 Transcript, held on 06/08/23, before Judge Alvin W. Thompson for
                 dates of 06/08/23, Court Reporter: Alicia A. Cayode Kyles Type of Hearing: Jury
                 Trial. (Cayode Kyles, Alicia) (Entered: 07/14/2023)
07/13/2023   623 ORDER: The plaintiffs' Notice of Intent to Request Redaction (ECF No. 615 ) is
                 hereby APPROVED. The court reporter shall redact the trial transcript as set forth in
                 the notice. It is so ordered. Signed by Judge Alvin W. Thompson on 07/13/2023.
                 (Frazier, T.) (Entered: 07/13/2023)
07/13/2023   622 JUDGMENT entered in favor of defendants Yale University, Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, and against plaintiffs Joseph Vellali, Nancy S.
                 Lowers, Jan M. Taschner, James Mancini.

                   For Appeal Forms please go to the following website:
                   http://www.ctd.uscourts.gov/forms/all−forms/appeals_forms
                   Signed by Clerk on 7/13/2023.(Ferguson, L.) (Entered: 07/13/2023)
07/13/2023   621 Defendants' Marked Witness List by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Ferguson, L.) (Entered: 07/13/2023)
07/13/2023   620 Plaintiffs' Marked Witness List by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Ferguson, L.) (Entered: 07/13/2023)
07/13/2023   619 Court Marked Exhibit List. (Ferguson, L.) (Entered: 07/13/2023)
07/13/2023   618 Defendants' Marked Exhibit List by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Ferguson, L.) (Entered: 07/13/2023)
07/13/2023   617 Plaintiffs' Marked Exhibit List by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Ferguson, L.) (Entered: 07/13/2023)
07/07/2023   616 NOTICE by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali
                 (Stump, Nathan) (Entered: 07/07/2023)
07/06/2023   615 NOTICE of Intent to Request Redaction by Nathan Stump re 592 Transcript,,,, 588
                 Transcript,,,, (Stump, Nathan) (Entered: 07/06/2023)
06/30/2023   614 ORDER: For the reasons set forth in the attached order, Defendants' Motion to
                 Preclude Gerald Buetow from Offering Opinions About Variable Annuity Damages
                 (ECF No. 557 ) was GRANTED on June 20, 2023. It is so ordered. Signed by Judge
                 Alvin W. Thompson on 06/30/2023. (Frazier, T.) (Entered: 06/30/2023)
06/29/2023   613 ORDER: The defendants' Motion for Judgment as a Matter of Law (ECF No. 562 ) is
                 hereby DENIED as moot. It is so ordered. Signed by Judge Alvin W. Thompson on
                 06/29/2023. (Frazier, T.) (Entered: 06/29/2023)
06/29/2023   612 TRANSCRIPT of Proceedings: Type of Hearing: Day 18 of Trial − Verdict. Held on
                 June 28, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
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                   public terminal or purchased through the Court Reporter/Transcriber before the
                   deadline for Release of Transcript Restriction. After that date it may be obtained
                   through PACER. The policy governing the redaction of personal information is located
                   on the court website at www.ctd.uscourts.gov. Redaction Request due 7/20/2023.
                   Redacted Transcript Deadline set for 7/30/2023. Release of Transcript Restriction set
                   for 9/27/2023. (Fidanza, T.) (Entered: 06/29/2023)
06/28/2023   611 TRANSCRIPT of Proceedings: Type of Hearing: Day 17 of Trial. Held on June 27,
                 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode Kyles.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   610 TRANSCRIPT of Proceedings: Type of Hearing: Charge Conference. Held on June
                 26, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode Kyles.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   609 TRANSCRIPT of Proceedings: Type of Hearing: Day 16 of Trial. Held on June 26,
                 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode Kyles.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   608 TRANSCRIPT of Proceedings: Type of Hearing: Day 15 of Trial − P.M. Session.
                 Held on June 23, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri
                 Fidanza. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
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                   for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   607 TRANSCRIPT of Proceedings: Type of Hearing: Day 15 of Trial − A.M. Session.
                 Held on June 23, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia
                 Cayode Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   606 TRANSCRIPT of Proceedings: Type of Hearing: Day 14 of Trial − P.M. Session.
                 Held on June 22, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri
                 Fidanza. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   605 TRANSCRIPT of Proceedings: Type of Hearing: Day 14 of Trial − A.M. Session.
                 Held on June 22, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia
                 Cayode Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   604 TRANSCRIPT of Proceedings: Type of Hearing: Day 13 of Trial − P.M. Session.
                 Held on June 21, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri
                 Fidanza. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   603 TRANSCRIPT of Proceedings: Type of Hearing: Day 13 of Trial − A.M. Session.
                 Held on June 21, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia
                 Cayode Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
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                   file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                   calendar days of this date. If no such Notice is filed, the court will assume redaction of
                   personal identifiers is not necessary and the transcript will be made available through
                   PACER without redaction 90 days from today's date. The transcript may be viewed at
                   the court public terminal or purchased through the Court Reporter/Transcriber before
                   the deadline for Release of Transcript Restriction. After that date it may be obtained
                   through PACER. The policy governing the redaction of personal information is located
                   on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                   Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                   for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   602 TRANSCRIPT of Proceedings: Type of Hearing: Day 12 of Trial − P.M. Session.
                 Held on June 20, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri
                 Fidanza. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   601 TRANSCRIPT of Proceedings: Type of Hearing: Day 12 of Trial − A.M. Session.
                 Held on June 20, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia
                 Cayode Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   600 TRANSCRIPT of Proceedings: Type of Hearing: Day 11 of Trial − P.M. Session.
                 Held on June 16, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri
                 Fidanza. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   599 TRANSCRIPT of Proceedings: Type of Hearing: Day 11 of Trial − A.M. Session.
                 Held on June 16, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia
                 Cayode Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
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                   the deadline for Release of Transcript Restriction. After that date it may be obtained
                   through PACER. The policy governing the redaction of personal information is located
                   on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                   Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                   for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   598 TRANSCRIPT of Proceedings: Type of Hearing: Day 10 of Trial − P.M. Session.
                 Held on June 15, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri
                 Fidanza. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   597 TRANSCRIPT of Proceedings: Type of Hearing: Day 10 of Trial − A.M. Session.
                 Held on June 15, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia
                 Cayode Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   596 TRANSCRIPT of Proceedings: Type of Hearing: Day 9 of Trial. Held on June 14,
                 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode Kyles.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   595 TRANSCRIPT of Proceedings: Type of Hearing: Day 8 of Trial − P.M. Session. Held
                 on June 13, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
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06/28/2023   594 TRANSCRIPT of Proceedings: Type of Hearing: Day 8 of Trial − A.M. Session. Held
                 on June 13, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   593 TRANSCRIPT of Proceedings: Type of Hearing: Day 7 of Trial − P.M. Session. Held
                 on June 12, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   592 TRANSCRIPT of Proceedings: Type of Hearing: Day 7 of Trial − A.M. Session. Held
                 on June 12, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   591 TRANSCRIPT of Proceedings: Type of Hearing: Day 6 of Trial − P.M. Session. Held
                 on June 9, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   590 TRANSCRIPT of Proceedings: Type of Hearing: Day 6 of Trial − A.M. Session. Held
                 on June 9, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
    Case 3:16-cv-01345-AWT Document 629 Filed 07/26/23 Page 19 of 66

                   identifiers is not necessary and the transcript will be made available through PACER
                   without redaction 90 days from today's date. The transcript may be viewed at the court
                   public terminal or purchased through the Court Reporter/Transcriber before the
                   deadline for Release of Transcript Restriction. After that date it may be obtained
                   through PACER. The policy governing the redaction of personal information is located
                   on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                   Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                   for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   589 TRANSCRIPT of Proceedings: Type of Hearing: Day 5 of Trial − P.M. Session. Held
                 on June 8, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   588 TRANSCRIPT of Proceedings: Type of Hearing: Day 5 of Trial − A.M. Session. Held
                 on June 8, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   587 TRANSCRIPT of Proceedings: Type of Hearing: Day 4 of Trial − P.M. Session. Held
                 on June 7, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   586 TRANSCRIPT of Proceedings: Type of Hearing: Day 4 of Trial − A.M. Session. Held
                 on June 7, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
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                   on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                   Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                   for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   585 TRANSCRIPT of Proceedings: Type of Hearing: Day 3 of Trial − P.M. Session. Held
                 on June 6, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   584 TRANSCRIPT of Proceedings: Type of Hearing: Day 3 of Trial − A.M. Session. Held
                 on June 6, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   583 TRANSCRIPT of Proceedings: Type of Hearing: Day 2 of Trial − P.M. Session. Held
                 on June 1, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   582 TRANSCRIPT of Proceedings: Type of Hearing: Day 2 of Trial − A.M. Session. Held
                 on June 1, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
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06/28/2023   581 TRANSCRIPT of Proceedings: Type of Hearing: Day 1 of Trial − P.M. Session. Held
                 on May 31, 2023 before Judge Alvin W. Thompson. Court Reporter: Terri Fidanza.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   580 TRANSCRIPT of Proceedings: Type of Hearing: Day 1 of Trial − A.M. Session. Held
                 on May 31, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode
                 Kyles. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   579 TRANSCRIPT of Proceedings: Type of Hearing: Jury Selection. Held on May 30,
                 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode Kyles.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   578 TRANSCRIPT of Proceedings: Type of Hearing: Pretrial Conference. Held on May
                 25, 2023 before Judge Alvin W. Thompson. Court Reporter: Alicia Cayode Kyles.
                 IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To remove
                 personal identifier information from the transcript, a party must electronically file a
                 Notice of Intent to Request Redaction with the Clerk's Office within seven (7) calendar
                 days of this date. If no such Notice is filed, the court will assume redaction of personal
                 identifiers is not necessary and the transcript will be made available through PACER
                 without redaction 90 days from today's date. The transcript may be viewed at the court
                 public terminal or purchased through the Court Reporter/Transcriber before the
                 deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 7/19/2023.
                 Redacted Transcript Deadline set for 7/29/2023. Release of Transcript Restriction set
                 for 9/26/2023. (Fidanza, T.) (Entered: 06/28/2023)
06/28/2023   577 RESPONSE to Plaintiffs' Objections to the Demonstratives Prepared to Aid Testimony
                 of Defendants' Experts filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Ross, Nancy) (Entered: 06/28/2023)
06/28/2023   576 JURY VERDICT with foreperson's signature redacted for Defendants and against
                 Plaintiffs. (Ferguson, L.) (Entered: 06/28/2023)
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06/28/2023   575 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial
                 completed on 6/28/2023. 11 minutes (Court Reporter Alicia Cayode Kyles) (Ferguson,
                 L.) (Entered: 06/28/2023)
06/28/2023   574 RESPONSE re 562 MOTION for Judgment as a Matter of Law filed by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Gallagher, Robyn)
                 (Entered: 06/28/2023)
06/27/2023   573 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/27/2023. Jury Trial continued until 6/28/2023 at 9:00 am. Total Time: 6 hours
                 and 20 minutes (Court Reporter Alicia Cayode Kyles) (Ferguson, L.) (Entered:
                 06/27/2023)
06/26/2023   572 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/26/2023. Jury Trial continued until 6/27/2023 at 9:30 am. Total Time: 8 hours
                 and 56 minutes (Court Reporter Alicia Cayode Kyles) (Ferguson, L.) (Entered:
                 06/27/2023)
06/25/2023   571 Memorandum in Opposition re 562 MOTION for Judgment as a Matter of Law filed
                 by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump,
                 Nathan) (Entered: 06/25/2023)
06/23/2023   570 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/23/2023. Jury Trial continued until 6/26/2023 at 9:30 am. Total Time: 5 hours
                 and 46 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/23/2023)
06/23/2023   569 REPLY to Response to 562 MOTION for Judgment as a Matter of Law As To
                 Variable Annuities filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Gallagher, Robyn) (Entered: 06/23/2023)
06/22/2023   568 RESPONSE re 564 Memorandum in Support of Motion, filed by Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali. (Stump, Nathan) (Entered:
                 06/22/2023)
06/22/2023   567 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/22/2023. Jury Trial continued until 6/23/2023 at 9:30 am. Total Time: 6 hours
                 and 11 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/22/2023)
06/21/2023   566 CERTIFICATE OF GOOD STANDING re 554 MOTION for Attorney(s) Douglas A.
                 Smith to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−7382660) by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Smith, Douglas) (Entered: 06/21/2023)
06/21/2023   565 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/21/2023. Jury Trial continued until 6/22/2023 at 9:30 am. Total Time: 6 hours
                 and 16 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/21/2023)
06/21/2023   564 Memorandum in Support re 562 MOTION for Judgment as a Matter of Law
                 (Defendants' Supplemental Brief in Support of Their Rule 50(a) Motion Addressing
                 Variable Annuities) filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Ross, Nancy) (Entered: 06/21/2023)
06/21/2023   563 Memorandum in Support re 562 MOTION for Judgment as a Matter of Law
                 (Defendants' Memorandum in Support of Their Motion for Judgment as a Matter of
                 Law) filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Ross, Nancy) (Entered: 06/21/2023)
06/21/2023   562 MOTION for Judgment as a Matter of Law by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University.Responses due by 7/12/2023 (Ross, Nancy)
                 (Entered: 06/21/2023)
06/20/2023   561 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/20/2023. Jury Trial continued until 6/21/2023 at 9:30 am. Motion Hearing held on
                 6/20/2023 re MOTION to Preclude Buetow Damages Opinions (ECF No. 557 ) filed
                 by Michael A. Peel, Yale University, The Retirement Plan Fiduciary Committee and
                 Oral Motion for Rule 50 (Judgment as a Matter of Law) made by Defendants. Total
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                  Time: 6 hours and 40 minutes(Court Reporter Alicia Cayode Kyles and Terri Fidanza)
                  (Ferguson, L.) (Entered: 06/20/2023)
06/19/2023   560 RESPONSE re 559 Memorandum in Opposition to Motion, 557 MOTION to Preclude
                 Buetow Damages Opinions filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Gallagher, Robyn) (Entered: 06/19/2023)
06/18/2023   559 Memorandum in Opposition re 557 MOTION to Preclude Buetow Damages Opinions
                 filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump,
                 Nathan) (Entered: 06/18/2023)
06/16/2023   558 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/16/2023. Jury Trial continued until 6/20/2023 at 9:30 am. Total Time: 7 hours
                 and 17 minutes (Court Reporters Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/16/2023)
06/16/2023   557 MOTION to Preclude Buetow Damages Opinions by Michael A. Peel, The Retirement
                 Plan Fiduciary Committee, Yale University.Responses due by 7/7/2023 (Attachments:
                 # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Gallagher, Robyn) (Entered: 06/16/2023)
06/15/2023   556 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/15/2023. Jury Trial continued until 6/16/2023 at 9:30 am. Total Time: 6 hours
                 and 01 minutes (Court Reporters Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/15/2023)
06/15/2023   555 ORDER: The Motion for Attorney Douglas A. Smith to be Admitted Pro Hac Vice
                 (ECF No. 554 ) is hereby GRANTED. Certificate of Good Standing due by 8/14/2023.
                 It is so ordered. Signed by Judge Alvin W. Thompson on 06/15/2023. (Frazier, T.)
                 (Entered: 06/15/2023)
06/14/2023   554 MOTION for Attorney(s) Douglas A. Smith to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7382660) by Michael A. Peel, Yale University.
                 (Attachments: # 1 Exhibit 1− Affidavit of Douglas A. Smit)(Williams, James)
                 (Entered: 06/14/2023)
06/14/2023   553 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/14/2023. Jury Trial continued until 6/15/2023 at 9:30 am. Total Time: 2 hours
                 and 58 minutes (Court Reporter Alicia Cayode Kyles) (Ferguson, L.) (Entered:
                 06/14/2023)
06/14/2023   552 ORDER: For the reasons set forth in the attached order, the Defendants' Motion in
                 Limine to Preclude or Limit Trial Testimony by President Peter Salovey (ECF No. 548
                 ) is hereby GRANTED in part and DENIED in part. It is so ordered. Signed by Judge
                 Alvin W. Thompson on 06/14/2023. (Frazier, T.) (Entered: 06/14/2023)
06/13/2023   551 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/13/2023. Jury Trial continued until 6/14/2023 at 9:30 am. Total Time: 6 hours
                 and 21 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/13/2023)
06/13/2023   549 Memorandum in Opposition re 548 MOTION in Limine to Preclude or Limit Trial
                 Testimony by President Peter Salovey filed by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit Exhibit 1 − Email from
                 Alexander Braitberg, # 2 Exhibit Exhibit 2 − Subpoena to Peter Salovey)(Stump,
                 Nathan) (Entered: 06/13/2023)
06/12/2023   550 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/12/2023. Jury Trial continued until 6/13/2023 at 9:30 am. Total Time: 6 hours
                 and 07 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson,
                 L.) (Entered: 06/13/2023)
06/12/2023   548 MOTION in Limine to Preclude or Limit Trial Testimony by President Peter Salovey
                 by Yale University.Responses due by 7/3/2023 (Ross, Nancy) (Entered: 06/12/2023)
06/09/2023   547 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/9/2023. Jury Trial continued until 6/12/2023 at 9:30 am. Total Time: 6 hours and
                 07 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson, L.)
                 (Entered: 06/09/2023)
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06/08/2023   546 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/8/2023. Jury Trial continued until 6/9/2023 at 9:30 am. Total Time: 6 hours and
                 15 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson, L.)
                 (Entered: 06/08/2023)
06/07/2023   545 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/7/2023. Jury Trial continued until 6/8/2023 at 9:30 am. Total Time: 6 hours and
                 08 minutes (Court Reporters Alicia Cayode Kyles and Terri Fidanza) (Ferguson, L.)
                 (Entered: 06/07/2023)
06/06/2023   544 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/6/2023. Jury Trial continued until 6/7/2023 at 9:30 am. Total Time: 6 hours and
                 09 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson, L.)
                 (Entered: 06/06/2023)
06/01/2023   543 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 6/1/2023. Jury Trial continued until 6/6/2023 at 9:30 am. Total Time: 6 hours and
                 04 minutes (Court Reporter Alicia Cayode Kyles and Terri Fidanza) (Ferguson, L.)
                 (Entered: 06/01/2023)
05/31/2023   542 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Trial held
                 on 5/31/2023. Jury Trial continued until 6/1/2023 at 9:30 am. Motion Hearing held on
                 5/31/2023. MOTION to Preclude Expert Narrative and Reliance on Unadmitted
                 Exhibits filed by Michael A. Peel, Yale University, The Retirement Plan Fiduciary
                 Committee (ECF No. 537 ) − GRANTED. Total Time: 6 hours and 27 minutes (Court
                 Reporters Alicia Cayode Kyles and Terri Fidanza) (Ferguson, L.) (Entered:
                 05/31/2023)
05/31/2023   541 ORDER: The defendants' Motion for Attorney Ankur Mandhania to be Admitted Pro
                 Hac Vice (ECF No. 533 ) is hereby GRANTED. Certificate of Good Standing due by
                 7/30/2023. It is so ordered. Signed by Judge Alvin W. Thompson on 05/31/2023.
                 (Frazier, T.) (Entered: 05/31/2023)
05/31/2023   540 ORDER: The defendants' Motion to Preclude Expert Narrative and Reliance on
                 Unadmitted Exhibits (ECF No. 537 ) was GRANTED on the record this morning. It is
                 so ordered. Signed by Judge Alvin W. Thompson on 05/31/2023. (Frazier, T.)
                 (Entered: 05/31/2023)
05/30/2023   539 Memorandum in Opposition re 537 MOTION to Preclude Expert Narrative and
                 Reliance on Unadmitted Exhibits filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Stump, Nathan) (Entered: 05/30/2023)
05/30/2023   538 Minute Entry for proceedings held before Judge Alvin W. Thompson: Jury Selection
                 held on 5/30/2023. Miscellaneous Hearing re Jury Trial held on 5/30/2023. Total
                 Time: 4 hours and 57 minutes (Court Reporter Alicia Cayode Kyles) (Ferguson, L.)
                 (Entered: 05/30/2023)
05/30/2023   537 MOTION to Preclude Expert Narrative and Reliance on Unadmitted Exhibits by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University.Responses due by 6/20/2023 (Attachments: # 1 Exhibit A − May 25, 2023
                 Transcript Excerpt)(Ross, Nancy) (Entered: 05/30/2023)
05/30/2023   536 ORDER: The plaintiffs' sealed motion (ECF No. 470 ) is hereby DENIED. See ECF
                 No. 528 . Signed by Judge Alvin W. Thompson on 05/30/2023. (Frazier, T.) (Entered:
                 05/30/2023)
05/30/2023   535 ORDER: For the reasons set forth in the attached order, the plaintiffs' Motion in
                 Limine to Exclude Evidence and Argument Suggesting a University−Specific Standard
                 for ERISA Fiduciaries (ECF No. 472 ) is hereby GRANTED in part and DENIED in
                 part. Signed by Judge Alvin W. Thompson on 05/30/2023. (Frazier, T.) (Entered:
                 05/30/2023)
05/30/2023   534 ORDER: For the reasons set forth in the attached order, the plaintiffs' Motion in
                 Limine to Exclude Parol Evidence Regarding Defendants' Authority to Map TIAA
                 Annuities (ECF No. 475 ) is hereby DENIED. Signed by Judge Alvin W. Thompson
                 on 05/30/2023. (Frazier, T.) (Entered: 05/30/2023)
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05/30/2023   533 MOTION for Attorney(s) Ankur Mandhania to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7363034) by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Affidavit)(Williams, James)
                 (Entered: 05/30/2023)
05/30/2023   532 OBJECTION (Defendants' Objections to Plaintiffs' Trial Exhibits) filed by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1
                 Exhibit A − Chart of Defendants' Objections)(Ross, Nancy) (Entered: 05/30/2023)
05/30/2023   531 ORDER: For the reasons set forth in the attached order, the defendants' Motion in
                 Limine to Preclude Evidence of Allegedly Prudent Investment Alternatives (ECF No.
                 483 ) is hereby DENIED. Signed by Judge Alvin W. Thompson on 05/30/2023.
                 (Frazier, T.) (Entered: 05/30/2023)
05/30/2023   530 ORDER: For the reasons set forth in the attached order, the plaintiffs' Motion in
                 Limine to Preclude Testimony of Douglas Chittenden and David Stinnett (ECF No.
                 479 ) is hereby DENIED. Signed by Judge Alvin W. Thompson on 05/30/2023.
                 (Frazier, T.) (Entered: 05/30/2023)
05/30/2023   529 ORDER: For the reasons set forth in the attached order, the defendants' Motion in
                 Limine to Limit Evidence Relating to Plaintiffs' Cross−selling Theory (ECF No. 469 )
                 is hereby GRANTED in part and DENIED in part, and the court is reserving ruling in
                 part. Signed by Judge Alvin W. Thompson on 05/30/2023. (Frazier, T.) (Entered:
                 05/30/2023)
05/30/2023   528 ORDER: For the reasons set forth in the attached order, the plaintiffs' Motion in
                 Limine to Exclude Testimony of Conrad Ciccotello (ECF No. 467 ) is hereby
                 DENIED. Signed by Judge Alvin W. Thompson on 05/30/2023. (Frazier, T.) (Entered:
                 05/30/2023)
05/30/2023   527 ORDER: For the reasons set forth in the attached order, the defendants' Motion in
                 Limine to Exclude Evidence Related to the CREF Stock Account and the TIAA Real
                 Estate Account (ECF No. 464 ) is hereby DENIED. Signed by Judge Alvin W.
                 Thompson on 05/30/2023. (Frazier, T.) (Entered: 05/30/2023)
05/30/2023   526 ORDER: For the reasons set forth in the attached order, the defendants' Motion in
                 Limine Regarding Legacy Investments in TIAA Traditional Annuities (ECF No. 462 )
                 is hereby GRANTED. Signed by Judge Alvin W. Thompson on 05/30/2023. (Frazier,
                 T.) (Entered: 05/30/2023)
05/30/2023   525 ORDER: For the reasons set forth in the attached order, the defendants' Omnibus
                 Motion in Limine (ECF No. 460 ) is hereby GRANTED in part and DENIED in part. It
                 is so ordered. Signed by Judge Alvin W. Thompson on 05/30/2023. (Frazier, T.)
                 (Entered: 05/30/2023)
05/26/2023   524 ORDER: For the reasons set forth in the attached order, Plaintiffs' Motion in Limine to
                 Exclude Charts Summarizing Data Regarding TIAA's "200 Largest" Recordkeeping
                 Clients (ECF No. 477 ) is hereby DENIED in part and DENIED without prejudice in
                 part. It is so ordered. Signed by Judge Alvin W. Thompson on 05/26/2023. (Frazier,
                 T.) (Entered: 05/26/2023)
05/25/2023   523 ORDER: The defendants' Motion for Attorney Christopher C. Watts to be Admitted
                 Pro Hac Vice (ECF No. 505 ) is hereby GRANTED. Certificate of Good Standing due
                 by 7/24/2023. It is so ordered. Signed by Judge Alvin W. Thompson on 05/25/2023.
                 (Frazier, T.) (Entered: 05/25/2023)
05/24/2023   522 OBJECTION to Defendants' Trial Exhibits filed by Nancy S. Lowers, James Mancini,
                 Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Schedule A − Duplicative
                 Exhibits, # 2 Schedule B − Expert Reliance Materials)(Stump, Nathan) (Entered:
                 05/24/2023)
05/18/2023   521 NOTICE of Appearance by Sean Milford on behalf of Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali (Milford, Sean) (Entered: 05/18/2023)
05/18/2023   520 CERTIFICATE OF GOOD STANDING re 488 MOTION for Attorney(s) Sean M.
                 Milford to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−7329356) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Milford, Sean) (Entered: 05/18/2023)
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05/17/2023   519 REPLY to Response to 462 MOTION in Limine Defendants' Motion in Limine
                 Regarding Legacy Investments in TIAA Traditional Annuities filed by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy) (Entered:
                 05/17/2023)
05/17/2023   518 REPLY to Response to 460 MOTION in Limine Defendants' Omnibus Motion in
                 Limine filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Ross, Nancy) (Entered: 05/17/2023)
05/17/2023   517 REPLY to Response to 464 MOTION in Limine Defendants' Motion in Limine to
                 Exclude Evidence Related to the CREF Stock Account and the TIAA Real Estate
                 Account filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Ross, Nancy) (Entered: 05/17/2023)
05/17/2023   516 REPLY to Response to 469 MOTION in Limine Defendants' Motion in Limine to
                 Limit Evidence Relating to Plaintiffs' Cross−Selling Theory filed by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy) (Entered:
                 05/17/2023)
05/17/2023   515 REPLY to Response to 483 MOTION in Limine Defendants' Motion in Limine to
                 Exclude Evidence of Allegedly Prudent Investment Alternatives filed by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy)
                 (Entered: 05/17/2023)
05/17/2023   514 REPLY to Response to 479 MOTION in Limine to Preclude Testimony of Douglas
                 Chittenden and David Stinnet filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Stump, Nathan) (Entered: 05/17/2023)
05/17/2023   513 REPLY to Response to 477 MOTION in Limine to Exclude Improper Rule 1006
                 Evidence filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Stump, Nathan) (Entered: 05/17/2023)
05/17/2023   512 REPLY to Response to 475 MOTION in Limine to Exclude Evidence that TIAA
                 Annuities Cannot be Mapped filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Stump, Nathan) (Entered: 05/17/2023)
05/17/2023   511 REPLY to Response to 472 MOTION in Limine to Exclude Evidence and Argument
                 Suggesting a University−Specific Standard for ERISA Fiduciaries filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump, Nathan) (Entered:
                 05/17/2023)
05/17/2023   510 REPLY to Response to 467 MOTION in Limine to Exclude Ciccotello filed by Nancy
                 S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit
                 Exhibit A)(Stump, Nathan) (Entered: 05/17/2023)
05/16/2023   509 ORDER: The plaintiffs' Motion for Sponsoring Attorney to be Excused from Trial
                 Proceedings (ECF No. 456 ) is hereby GRANTED. Attorney Ari J. Hoffman is
                 excused from the final pretrial conference on May 25, 2023, jury selection on May 30,
                 2023, and trial on May 31, 2023. It is so ordered. Signed by Judge Alvin W.
                 Thompson on 05/16/2023. (Frazier, T.) (Entered: 05/16/2023)
05/16/2023   508 ORDER: The plaintiffs' Motion to Provisionally Seal Document Filed in Opposition to
                 Defendants Motion in Limine (ECF No. 492 ) is hereby GRANTED because the
                 document contains material designated confidential by the defendants. It is so ordered.
                 Signed by Judge Alvin W. Thompson on 05/16/2023. (Frazier, T.) (Entered:
                 05/16/2023)
05/15/2023   507 CERTIFICATE OF GOOD STANDING re 457 MOTION for Attorney(s) William D.
                 Sinnott to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−7319977) by Michael A. Peel, Yale University. (Sinnott, William) (Entered:
                 05/15/2023)
05/15/2023   506 NOTICE of Appearance by William Dayton Sinnott on behalf of Michael A. Peel,
                 Yale University (Sinnott, William) (Entered: 05/15/2023)
05/12/2023   505 MOTION for Attorney(s) Christopher C. Watts to be Admitted Pro Hac Vice (paid
                 $200 PHV fee; receipt number ACTDC−7345067) by Michael A. Peel, Yale
                 University. (Attachments: # 1 Affidavit)(Williams, James) (Entered: 05/12/2023)
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05/11/2023         Docket Entry Correction re 491 Calendar Entry for Jury Trial: modified to cancel trial
                   date of 6/19/2023, as this is an official Court Holiday. (Ferguson, L.) (Entered:
                   05/11/2023)
05/10/2023   504 AFFIDAVIT re 502 Memorandum in Opposition to Motion, 503 Memorandum in
                 Opposition to Motion, 500 Memorandum in Opposition to Motion, 501 Memorandum
                 in Opposition to Motion, 499 Memorandum in Opposition to Motion Signed By
                 Michelle N. Webster filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)(Ross, Nancy) (Entered: 05/10/2023)
05/10/2023   503 Memorandum in Opposition re 467 MOTION in Limine to Exclude Ciccotello filed by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Ross,
                 Nancy) (Entered: 05/10/2023)
05/10/2023   502 Memorandum in Opposition re 475 MOTION in Limine to Exclude Evidence that
                 TIAA Annuities Cannot be Mapped filed by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Ross, Nancy) (Entered: 05/10/2023)
05/10/2023   501 Memorandum in Opposition re 472 MOTION in Limine to Exclude Evidence and
                 Argument Suggesting a University−Specific Standard for ERISA Fiduciaries filed by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Ross,
                 Nancy) (Entered: 05/10/2023)
05/10/2023   500 Memorandum in Opposition re 477 MOTION in Limine to Exclude Improper Rule
                 1006 Evidence filed by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Ross, Nancy) (Entered: 05/10/2023)
05/10/2023   499 Memorandum in Opposition re 479 MOTION in Limine to Preclude Testimony of
                 Douglas Chittenden and David Stinnet filed by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Ross, Nancy) (Entered: 05/10/2023)
05/10/2023   498 Memorandum in Opposition re 483 MOTION in Limine Defendants' Motion in Limine
                 to Exclude Evidence of Allegedly Prudent Investment Alternatives filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump, Nathan) (Entered:
                 05/10/2023)
05/10/2023   497 Memorandum in Opposition re 469 MOTION in Limine Defendants' Motion in Limine
                 to Limit Evidence Relating to Plaintiffs' Cross−Selling Theory filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump, Nathan) (Entered:
                 05/10/2023)
05/10/2023   496 Memorandum in Opposition re 464 MOTION in Limine Defendants' Motion in Limine
                 to Exclude Evidence Related to the CREF Stock Account and the TIAA Real Estate
                 Account filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Stump, Nathan) (Entered: 05/10/2023)
05/10/2023   495 Memorandum in Opposition re 462 MOTION in Limine Defendants' Motion in Limine
                 Regarding Legacy Investments in TIAA Traditional Annuities filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit
                 Exhibit 9)(Stump, Nathan) (Entered: 05/10/2023)
05/10/2023   494 Sealed Document: Exhibit 1 by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali . (Stump, Nathan) (Entered: 05/10/2023)
05/10/2023   493 Memorandum in Opposition re 460 MOTION in Limine Defendants' Omnibus Motion
                 in Limine filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7 Exhibit Exhibit 7, #
                 8 Exhibit Exhibit 8)(Stump, Nathan) (Entered: 05/10/2023)
05/10/2023   492 MOTION to Seal Exhibit 1 by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Stump, Nathan) (Entered: 05/10/2023)
05/10/2023   491 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                 COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                 COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Jury Trial set for
                 5/31/2023, 6/1/2023, 6/6/2023, 6/7/2023, 6/8/2023, 6/9/2023, 6/12/2023, 6/13/2023,
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                   6/14/2023, 6/15/2023, 6/16/2023, 6/20/2023, 6/21/2023, 6/22/2023, 6/23/2023,
                   6/26/2023, 6/27/2023, 6/28/2023, 6/29/2023, and 6/30/2023 at 09:30 AM in South
                   Courtroom, 450 Main St., Hartford, CT before Judge Alvin W. Thompson. (Ferguson,
                   L.) Modified on 5/11/2023 to cancel trial date of 6/19/2023 as it is a Court Holiday
                   (Ferguson, L.). (Entered: 05/10/2023)
05/10/2023   490 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                 COUNSEL/THE PARTIES WILL RECEIVE.ALL PERSONS ENTERING THE
                 COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Jury Selection set
                 for 5/30/2023 at 09:00 AM in South Courtroom, 450 Main St., Hartford, CT before
                 Judge Alvin W. Thompson. (Ferguson, L.) (Entered: 05/10/2023)
05/01/2023   489 ORDER granting 488 Motion for Attorney Sean M. Milford to be Admitted Pro Hac
                 Vice. Certificate of Good Standing due by 6/30/2023. Signed by Clerk on 5/1/2023.
                 (Mendez, D) (Entered: 05/01/2023)
04/28/2023   488 MOTION for Attorney(s) Sean M. Milford to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7329356) by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Hoffman, Ari) (Entered:
                 04/28/2023)
04/27/2023   487 ORDER: The Plaintiffs' Motion to Provisionally Seal Documents (ECF No. 465 ) is
                 hereby GRANTED. Pursuant to the Standing Protective Order (See ECF No. 11 )
                 entered by this court, the material designated confidential by the parties shall remain
                 sealed and any portions of the plaintiffs' filings that reference material designated
                 confidential shall be sealed. It is so ordered. Signed by Judge Alvin W. Thompson on
                 04/27/2023. (Frazier, T.) (Entered: 04/27/2023)
04/26/2023   486 AFFIDAVIT re 460 MOTION in Limine Defendants' Omnibus Motion in Limine, 462
                 MOTION in Limine Defendants' Motion in Limine Regarding Legacy Investments in
                 TIAA Traditional Annuities, 483 MOTION in Limine Defendants' Motion in Limine to
                 Exclude Evidence of Allegedly Prudent Investment Alternatives, 469 MOTION in
                 Limine Defendants' Motion in Limine to Limit Evidence Relating to Plaintiffs'
                 Cross−Selling Theory, 464 MOTION in Limine Defendants' Motion in Limine to
                 Exclude Evidence Related to the CREF Stock Account and the TIAA Real Estate
                 Account Declaration of Jed W. Glickstein in Support of Defendants' Motions in Limine
                 Signed By Jed W. Glickstein filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Attachments: # 1 Exhibit 1 − Alexandre Deposition
                 Excerpts, # 2 Exhibit 2 − Yale Investments Office, # 3 Exhibit 3 −
                 2011−current−challenges−and−best−practices, # 4 Exhibit 4 − Dominguez Deposition
                 Excerpts (CBI), # 5 Exhibit 5 − Chalmers Supp)(Ross, Nancy) (Entered: 04/26/2023)
04/26/2023   485 Memorandum in Support re 483 MOTION in Limine Defendants' Motion in Limine to
                 Exclude Evidence of Allegedly Prudent Investment Alternatives filed by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy)
                 (Entered: 04/26/2023)
04/26/2023   484 TRIAL MEMO (Joint) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali Estimated trial time 15 days. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit
                 Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D, # 5 Exhibit Exhibit E, # 6
                 Exhibit Exhibit F, # 7 Exhibit Exhibit G, # 8 Exhibit Exhibit H)(Stump, Nathan)
                 (Entered: 04/26/2023)
04/26/2023   483 MOTION in Limine Defendants' Motion in Limine to Exclude Evidence of Allegedly
                 Prudent Investment Alternatives by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University.Responses due by 5/17/2023 (Ross, Nancy) (Entered:
                 04/26/2023)
04/26/2023   482 Sealed Document: Sealed Declaration of Joel D. Rohlf by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali . (Attachments: # 1 Exhibit Exhibit
                 1)(Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   481 AFFIDAVIT re 473 Memorandum in Support of Motion, 476 Memorandum in
                 Support of Motion, 480 Memorandum in Support of Motion, 468 Memorandum in
                 Support of Motion, 478 Memorandum in Support of Motion in Limine Signed By Joel
                 D. Rohlf filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
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                  Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7 Exhibit Exhibit 7, #
                  8 Exhibit Exhibit 8, # 9 Exhibit Exhibit 9, # 10 Exhibit Exhibit 10, # 11 Exhibit
                  Exhibit 11, # 12 Exhibit Exhibit 12, # 13 Exhibit Exhibit 13)(Stump, Nathan)
                  (Entered: 04/26/2023)
04/26/2023   480 Memorandum in Support re 479 MOTION in Limine to Preclude Testimony of
                 Douglas Chittenden and David Stinnet filed by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   479 MOTION in Limine to Preclude Testimony of Douglas Chittenden and David Stinnet
                 by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.Responses due
                 by 5/17/2023 (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   478 Memorandum in Support re 477 MOTION in Limine to Exclude Improper Rule 1006
                 Evidence filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   477 MOTION in Limine to Exclude Improper Rule 1006 Evidence by Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali.Responses due by 5/17/2023 (Stump,
                 Nathan) (Entered: 04/26/2023)
04/26/2023   476 Memorandum in Support re 475 MOTION in Limine to Exclude Evidence that TIAA
                 Annuities Cannot be Mapped filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   475 MOTION in Limine to Exclude Evidence that TIAA Annuities Cannot be Mapped by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.Responses due by
                 5/17/2023 (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   474 SEALED MOTION Sealed Memorandum in Support of Motion to Exclude Evidence
                 and Argument Suggesting a University−Specific Standard for ERISA Fiduciaries by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump, Nathan)
                 (Entered: 04/26/2023)
04/26/2023   473 Memorandum in Support re 472 MOTION in Limine to Exclude Evidence and
                 Argument Suggesting a University−Specific Standard for ERISA Fiduciaries
                 (Redacted) filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   472 MOTION in Limine to Exclude Evidence and Argument Suggesting a
                 University−Specific Standard for ERISA Fiduciaries by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali.Responses due by 5/17/2023 (Stump,
                 Nathan) (Entered: 04/26/2023)
04/26/2023   471 Memorandum in Support re 469 MOTION in Limine Defendants' Motion in Limine to
                 Limit Evidence Relating to Plaintiffs' Cross−Selling Theory filed by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy) (Entered:
                 04/26/2023)
04/26/2023   470 SEALED MOTION Memorandum in Support of Motion to Exclude Conrad Ciccotello
                 Sealed Memorandum in Support of Motion to Exclude Conrad Ciccotello by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump, Nathan) (Entered:
                 04/26/2023)
04/26/2023   469 MOTION in Limine Defendants' Motion in Limine to Limit Evidence Relating to
                 Plaintiffs' Cross−Selling Theory by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University.Responses due by 5/17/2023 (Ross, Nancy) (Entered:
                 04/26/2023)
04/26/2023   468 Memorandum in Support re 467 MOTION in Limine to Exclude Ciccotello (Redacted)
                 filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Stump,
                 Nathan) (Entered: 04/26/2023)
04/26/2023   467 MOTION in Limine to Exclude Ciccotello by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali.Responses due by 5/17/2023 (Stump, Nathan) (Entered:
                 04/26/2023)
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04/26/2023   466 Memorandum in Support re 464 MOTION in Limine Defendants' Motion in Limine to
                 Exclude Evidence Related to the CREF Stock Account and the TIAA Real Estate
                 Account filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Ross, Nancy) (Entered: 04/26/2023)
04/26/2023   465 MOTION to Seal Exhibit 1 by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Stump, Nathan) (Entered: 04/26/2023)
04/26/2023   464 MOTION in Limine Defendants' Motion in Limine to Exclude Evidence Related to the
                 CREF Stock Account and the TIAA Real Estate Account by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University.Responses due by 5/17/2023
                 (Ross, Nancy) (Entered: 04/26/2023)
04/26/2023   463 Memorandum in Support re 462 MOTION in Limine Defendants' Motion in Limine
                 Regarding Legacy Investments in TIAA Traditional Annuities filed by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy) (Entered:
                 04/26/2023)
04/26/2023   462 MOTION in Limine Defendants' Motion in Limine Regarding Legacy Investments in
                 TIAA Traditional Annuities by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University.Responses due by 5/17/2023 (Ross, Nancy) (Entered:
                 04/26/2023)
04/26/2023   461 Memorandum in Support re 460 MOTION in Limine Defendants' Omnibus Motion in
                 Limine filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Ross, Nancy) (Entered: 04/26/2023)
04/26/2023   460 MOTION in Limine Defendants' Omnibus Motion in Limine by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University.Responses due by 5/17/2023
                 (Ross, Nancy) (Entered: 04/26/2023)
04/24/2023   459 CERTIFICATE OF GOOD STANDING re 445 MOTION for Attorney(s) Reginald R.
                 Goeke to be Admitted Pro Hac Vice by Michael A. Peel, Yale University. (Goeke,
                 Reginald) (Entered: 04/24/2023)
04/21/2023   458 ORDER granting 457 Motion for Attorney William D. Sinnott to be Admitted Pro Hac
                 Vice. Certificate of Good Standing due by 6/20/2023. Signed by Clerk on 4/21/2023.
                 (Mendez, D) (Entered: 04/21/2023)
04/20/2023   457 MOTION for Attorney(s) William D. Sinnott to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7319977) by Michael A. Peel, Yale University.
                 (Attachments: # 1 Affidavit)(Williams, James) (Entered: 04/20/2023)
04/18/2023   456 MOTION For Sponsoring Attorney to be Excused from Trial Proceedings by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.Responses due by 5/9/2023
                 (Hoffman, Ari) (Entered: 04/18/2023)
04/12/2023   455 ORDER: As discussed during the telephonic status conference held on 4/12/2023 (see
                 ECF No. 453 ), the final pretrial conference will be held on May 25, 2023 at 12:00
                 PM. Jury Selection will be held on May 30, 2023 at 9:00 AM. Evidence will begin on
                 May 31, 2023 at 9:30 AM. Trial will not be held on June 2, 2023 or June 5, 2023, and
                 the trial day will end at 2:00 PM on June 14, 2023. It is so ordered. Signed by Judge
                 Alvin W. Thompson on 04/12/2023. (Frazier, T.) (Entered: 04/12/2023)
04/12/2023   454 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                 COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                 COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Final Pretrial
                 Conference set for 5/25/2023 12:00 PM in South Courtroom, 450 Main St., Hartford,
                 CT before Judge Alvin W. Thompson. (Frazier, T.) (Entered: 04/12/2023)
04/12/2023   453 Minute Entry for proceedings held before Judge Alvin W. Thompson: Telephonic
                 Status Conference held on 4/12/2023. Total time: 19 minutes. (Court Reporter Alicia
                 Cayode Kyles.)(Frazier, T.) (Entered: 04/12/2023)
04/11/2023   452 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                 COUNSEL/THE PARTIES WILL RECEIVE.ALL PERSONS ENTERING THE
                 COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Telephonic Status
                 Conference set for 4/12/2023 02:00 PM before Judge Alvin W. Thompson. Dial−in
                 instructions have been emailed to counsel of record. Anyone wishing to observe this
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                  proceeding should contact chambers at 860−240−3224 to request the dial−in
                  instructions. (Frazier, T.) (Entered: 04/11/2023)
04/10/2023   451 NOTICE of Appearance by Reginald R. Goeke on behalf of Michael A. Peel, Yale
                 University (Goeke, Reginald) (Entered: 04/10/2023)
04/06/2023   450 ORDER: For the reasons set forth in the attached order, the Defendants' Emergency
                 Motion to Certify Interlocutory Appeal (ECF No. 441 ) is hereby DENIED. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 04/06/2023. (Frazier, T.) (Entered:
                 04/06/2023)
04/05/2023   449 NOTICE of Appearance by Robyn E. Gallagher on behalf of Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University (Gallagher, Robyn) (Entered:
                 04/05/2023)
04/03/2023   448 ORDER: The defendants' Motion for Attorney Reginald R. Goeke to be Admitted Pro
                 Hac Vice (ECF No. 437 ) is hereby DENIED as moot. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 04/03/2023. (Frazier, T.) (Entered: 04/03/2023)
04/03/2023   447 ORDER: The defendants' Motion for Attorney Reginald R. Goeke to be Admitted Pro
                 Hac Vice (ECF No. 445 ) is hereby GRANTED. It is so ordered. Signed by Judge
                 Alvin W. Thompson on 04/03/2023. (Frazier, T.) (Entered: 04/03/2023)
03/28/2023   446 ORDER: The defendants' Motion for Leave to File a Supplemental Brief Regarding
                 Emergency Motion to Certify Interlocutory Appeal (ECF No. 443 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 03/28/2023.
                 (Frazier, T.) (Entered: 03/28/2023)
03/28/2023   445 MOTION for Attorney(s) Reginald R. Goeke to be Admitted Pro Hac Vice by Michael
                 A. Peel, Yale University. (Attachments: # 1 Affidavit of Reginald R.
                 Goeke)(Williams, James) (Entered: 03/28/2023)
03/28/2023   444 RESPONSE re 441 Emergency MOTION for Certificate of Appealability filed by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Rohlf, Joel)
                 (Entered: 03/28/2023)
03/27/2023   443 MOTION for Leave to File a Supplemental Brief Regarding Emergency Motion to
                 Certify Interlocutory Appeal 441 by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Attachments: # 1 Proposed Supplemental Brief
                 Regarding Defendants' Emergency Motion to Certify Interlocutory Appeal 441 , # 2
                 Exhibit A)(Ross, Nancy) (Entered: 03/27/2023)
03/20/2023   442 Memorandum in Support re 441 Emergency MOTION for Certificate of Appealability
                 filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                 (Ross, Nancy) (Entered: 03/20/2023)
03/20/2023   441 Emergency MOTION for Certificate of Appealability by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1 Text of
                 Proposed Order)(Ross, Nancy) (Entered: 03/20/2023)
03/17/2023        Set Deadlines: Joint Trial Memorandum due by 4/26/2023 (Ferguson, L.) (Entered:
                  03/20/2023)
03/17/2023   440 ORDER: The parties' Joint Motion to Extend Deadline for Submission of Joint Trial
                 Memorandum (ECF No. 438 ) is hereby GRANTED. The parties shall file their joint
                 trial memorandum on or before April 26, 2023. It is so ordered. Signed by Judge Alvin
                 W. Thompson on 03/17/2023. (Frazier, T.) (Entered: 03/17/2023)
03/17/2023   439 ORDER: For the reasons set forth in the attached ruling, the defendants' Motion to
                 Strike the Jury Demand (ECF No. 415 ) is hereby DENIED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 03/17/2023. (Frazier, T.) (Entered: 03/17/2023)
03/10/2023   438 Joint MOTION for Extension of Time (Joint Motion to Extend Deadline for
                 Submission of Joint Trial Memorandum) by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Text of Proposed
                 Order)(Ross, Nancy) (Entered: 03/10/2023)
03/07/2023   437 MOTION for Attorney(s) Reginald R. Goeke to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7263305) by Michael A. Peel, Yale University.
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                  (Attachments: # 1 Declaration of Reginald R. Goeke)(Williams, James) (Entered:
                  03/07/2023)
03/01/2023        Set Deadlines: Joint Trial Memorandum due by 4/12/2023 (Ferguson, L.) (Entered:
                  03/02/2023)
03/01/2023   436 TRIAL MEMORANDUM ORDER: The parties shall jointly file by April 12, 2023, a
                 Trial Memorandum for approval by the court as specified in the attached order. Signed
                 by Judge Alvin W. Thompson on 3/1/2023.(Mata, E.) (Entered: 03/01/2023)
01/17/2023   435 CERTIFICATE OF GOOD STANDING re 427 MOTION for Attorney(s) John
                 Nadolenco to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−7172203) by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Nadolenco, John) (Entered: 01/17/2023)
01/03/2023   434 ORDER: The defendants' Motion for Leave to File a Response to Plaintiffs'
                 Supplemental Brief (ECF No. 433 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 01/03/2023. (Frazier, T.) (Entered: 01/03/2023)
12/27/2022   433 MOTION for Leave to File a Response to Plaintiffs' Supplemental Brief 432 by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                 (Attachments: # 1 Defendants' Proposed Response to Plaintiffs' Supplemental Brief
                 432 )(Ross, Nancy) (Entered: 12/27/2022)
12/22/2022   432 First Notice of Additional Authority Supplemental Brief re 415 MOTION to Strike
                 (Defendants' Motion to Strike the Jury Demand) filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Supplement Referenced
                 Ruling)(Soyars, Sean) (Entered: 12/22/2022)
12/22/2022   431 ORDER granting 427 Motion to Appear for Attorney John Nadolenco to be Admitted
                 Pro Hac Vice Certificate of Good Standing due by 2/20/2023. Signed by Clerk on
                 12/22/2022. (Barry, L) (Entered: 12/22/2022)
12/21/2022   430 ORDER: The plaintiffs' Motion for Leave to File Supplemental Brief (ECF No. 429 )
                 is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 12/20/2022. (Frazier, T.) (Entered: 12/21/2022)
12/19/2022   429 MOTION for Leave to File Supplemental Brief Further Supporting Denial of Motion
                 to Strike Jury Demand by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Attachments: # 1 Proposed Supplemental Brief, # 2 Garthwait v. Eversource
                 Energy Co., No. 20−902 ECF 169 (D. Conn. Dec. 7, 2022))(Soyars, Sean) (Entered:
                 12/19/2022)
12/16/2022   428 ORDER: The Motion to Withdraw as Attorney (ECF No. 426 ) is hereby GRANTED.
                 Attorney Marcus Christian is terminated. Signed by Judge Alvin W. Thompson on
                 12/16/2022. (Frazier, T.) (Entered: 12/16/2022)
12/16/2022   427 MOTION for Attorney(s) John Nadolenco to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7172203) by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Declaration of John
                 Nadolenco)(Williams, James) (Entered: 12/16/2022)
12/14/2022   426 MOTION for Marcus A. Christian to Withdraw as Attorney by Michael A. Peel, Yale
                 University. (Christian, Marcus) (Entered: 12/14/2022)
12/05/2022   425 REPLY to Response to 415 MOTION to Strike (Defendants' Motion to Strike the Jury
                 Demand) filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Ross, Nancy) (Entered: 12/05/2022)
11/22/2022   424 NOTICE of Appearance by Nathan Stump on behalf of Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali (Stump, Nathan) (Entered: 11/22/2022)
11/21/2022   423 Memorandum in Opposition re 415 MOTION to Strike (Defendants' Motion to Strike
                 the Jury Demand) filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Soyars, Sean) (Entered: 11/21/2022)
11/21/2022   422 CERTIFICATE OF GOOD STANDING re 419 MOTION for Attorney(s) Nathan D.
                 Stump to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−7133658) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
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                   Vellali. (Stump, Nathan) (Entered: 11/21/2022)
11/14/2022   421 Minute Entry for proceedings held before Judge Alvin W. Thompson: Status
                 Conference held on 11/14/2022 to discuss dates for trial. Trial will commence on May
                 24, 2023. Total time: 10 minutes. (Court Reporter Alicia Cayode Kyles.) (Frazier, T.)
                 (Entered: 11/14/2022)
11/14/2022   420 ORDER granting 419 Motion to Appear or Attorney Nathan D. Stump to be Admitted
                 Pro Hac Vice Certificate of Good Standing due by 1/13/2023. Signed by Clerk on
                 11/14/2022. (Barry, L) (Entered: 11/14/2022)
11/10/2022   419 MOTION for Attorney(s) Nathan D. Stump to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−7133658) by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Attachments: # 1 Affidavit Affidavit of Nathan D.
                 Stump)(Hoffman, Ari) (Entered: 11/10/2022)
11/08/2022   418 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                 COUNSEL/THE PARTIES WILL RECEIVE. ALL PERSONS ENTERING THE
                 COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Status Conference
                 set for 11/14/2022 04:30 PM before Judge Alvin W. Thompson. Dial−in instructions
                 have been emailed to counsel of record. Anyone wishing to observe this proceeding
                 should contact chambers at 860−240−3224 to request the dial−in instructions. (Frazier,
                 T.) (Entered: 11/08/2022)
11/01/2022   417 ORDER granting 414 Motion to Appear for Attorney Marcus A. Christian to be
                 Admitted Pro Hac Vice Certificate of Good Standing due by 12/31/2022. Signed by
                 Clerk on 11/01/2022. (Barry, L) (Entered: 11/01/2022)
10/31/2022   416 Memorandum in Support re 415 MOTION to Strike (Defendants' Motion to Strike the
                 Jury Demand) filed by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Ross, Nancy) (Entered: 10/31/2022)
10/31/2022   415 MOTION to Strike (Defendants' Motion to Strike the Jury Demand) by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University.Responses due by
                 11/21/2022 (Ross, Nancy) (Entered: 10/31/2022)
10/26/2022   414 MOTION for Attorney(s) Marcus A. Christian to be Admitted Pro Hac Vice (paid
                 $200 PHV fee; receipt number ACTDC−7115483) by Michael A. Peel, Yale
                 University. (Attachments: # 1 Declaration of Marcus A. Christian)(Williams, James)
                 (Entered: 10/26/2022)
10/21/2022   413 ORDER: Defendants' Motion for Summary Judgment (ECF No. 267 ) is GRANTED
                 in part and DENIED in part for the reasons stated in the attached document. It is
                 granted with respect to the prohibited transaction claims (Counts II, IV, and VI) and
                 the duty to monitor claim (Count VIII), and it is otherwise denied. Signed by Judge
                 Alvin W. Thompson on 10/21/2022. (Mata, E.) (Entered: 10/21/2022)
10/11/2022   412 ORDER: The Motion for Withdrawal of Appearance (ECF No. 411 ) is hereby
                 GRANTED. Attorney Colleen Campbell is terminated. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 10/11/2022. (Frazier, T.) (Entered: 10/11/2022)
10/07/2022   411 MOTION for Colleen M. Campbell to Withdraw as Attorney by Michael A. Peel, Yale
                 University. (Campbell, Colleen) (Entered: 10/07/2022)
03/30/2022   410 ORDER: For the reasons set forth in the attached order, Defendants' Motion to
                 Exclude Plaintiffs' Experts Al Otto and Ty Minnich (ECF No. 278 ) is hereby
                 DENIED. It is so ordered. Signed by Judge Alvin W. Thompson on 3/30/2022.
                 (Milov−Cordoba, M.) (Entered: 03/30/2022)
03/30/2022   409 ORDER: For the reasons set forth in the attached order, Defendants' Motion to
                 Exclude Plaintiffs' Experts Wendy Dominguez and Gerald Buetow (ECF No. 275 ) is
                 hereby DENIED. It is so ordered. Signed by Judge Alvin W. Thompson on 3/30/2022.
                 (Milov−Cordoba, M.) (Entered: 03/30/2022)
03/30/2022   408 ORDER: For the reasons set forth in the attached ruling, Defendants' Motion to
                 Exclude Plaintiffs' Expert Daniel Alexander (ECF No. 272 ) is hereby DENIED. It is
                 so ordered. Signed by Judge Alvin W. Thompson on 3/30/2022. (Milov−Cordoba, M.)
                 (Entered: 03/30/2022)
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02/28/2022   407 NOTICE of Appearance by Brantley Webb on behalf of Michael A. Peel, Yale
                 University (Webb, Brantley) (Entered: 02/28/2022)
02/28/2022   406 NOTICE of Appearance by Colleen Campbell on behalf of Michael A. Peel, Yale
                 University (Campbell, Colleen) (Entered: 02/28/2022)
02/25/2022   405 CERTIFICATE OF GOOD STANDING re 401 MOTION for Attorney(s) Colleen M.
                 Campbell to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−6841711) by Michael A. Peel, Yale University. (Campbell, Colleen)
                 (Entered: 02/25/2022)
02/25/2022   404 CERTIFICATE OF GOOD STANDING re 400 MOTION for Attorney(s) E. Brantley
                 Webb to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−6841646) by Michael A. Peel, Yale University. (Webb, Brantley) (Entered:
                 02/25/2022)
02/24/2022   403 ORDER: Motion to Appear Pro Hac Vice for Attorney Colleen M. Campbell ( ECF
                 No. 401 ) is hereby GRANTED. Certificate of Good Standing due by 4/25/2022.
                 Signed by Clerk on 2/24/2022. (Ferguson, L.) (Entered: 02/24/2022)
02/24/2022   402 ORDER: Motion to Appear Pro Hac Vice for Attorney E. Brantley Webb (ECF No.
                 400 )is hereby GRANTED. Certificate of Good Standing due by 4/25/2022. Signed by
                 Clerk on 2/24/2022. (Ferguson, L.) (Entered: 02/24/2022)
02/23/2022   401 MOTION for Attorney(s) Colleen M. Campbell to be Admitted Pro Hac Vice (paid
                 $200 PHV fee; receipt number ACTDC−6841711) by Michael A. Peel, Yale
                 University. (Attachments: # 1 Declaration of Colleen M. Campbell)(Williams, James)
                 (Entered: 02/23/2022)
02/23/2022   400 MOTION for Attorney(s) E. Brantley Webb to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−6841646) by Michael A. Peel, Yale University.
                 (Attachments: # 1 Declaration of E. Brantley Webb)(Williams, James) (Entered:
                 02/23/2022)
02/10/2022   399 ORDER: Defendants' Motion for Leave to File Reply to Plaintiffs' Response
                 Regarding Hughes (ECF No. 398 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 2/10/2022. (Milov−Cordoba, M.) (Entered: 02/10/2022)
02/09/2022   398 MOTION for Leave to File Reply to Plaintiffs' Supplemental Brief (ECF No. 396) by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                 (Attachments: # 1 Proposed Reply)(Ross, Nancy) (Entered: 02/09/2022)
02/08/2022   397 ORDER: The Plaintiffs' Motion for Leave to File a Response to Defendants'
                 Supplemental Brief Regarding Additional Authority Supporting Their Motion for
                 Summary Judgment (ECF No. 396 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 2/8/2022. (Milov−Cordoba, M.) (Entered: 02/08/2022)
02/04/2022   396 MOTION for Leave to File Response to Defendants' Supplemental Brief Regarding
                 Additional Authority by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Attachments: # 1 Proposed Response)(Rohlf, Joel) (Entered: 02/04/2022)
02/03/2022   395 ORDER: Defendants' Motion for Leave to File a Supplemental Brief Regarding
                 Additional Authority Supporting Their Motion for Summary Judgment (ECF No. 394 )
                 is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 2/3/2022. (Milov−Cordoba, M.) (Entered: 02/03/2022)
01/28/2022   394 MOTION for Leave to File Supplemental Brief regarding Additional Authority
                 Supporting their Motion for Summary Judgment by Michael A. Peel, The Retirement
                 Plan Fiduciary Committee, Yale University. (Attachments: # 1 Defendants' Proposed
                 Supplemental Brief Regarding Hughes v. Northwestern Univ, # 2 Exhibit A, # 3
                 Exhibit B)(Ross, Nancy) (Entered: 01/28/2022)
12/14/2021   393 ORDER: The Motion for Withdrawal of Appearance (ECF No. 392 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 12/14/2021.
                 (Milov−Cordoba, M.) (Entered: 12/14/2021)
12/10/2021   392 MOTION for Richard E. Nowak to Withdraw as Attorney by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Nowak, Richard) (Entered:
                 12/10/2021)
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10/28/2021   391 As per the attached ruling, the Plaintiffs' Motion for Leave to File Supplemental
                 Evidence in Opposition to Defendants' Motion for Summary Judgment and Motion to
                 Exclude Daniel Alexander (ECF No. 360 ) is hereby GRANTED. It is so ordered.
                 Signed by Judge Alvin W. Thompson on 10/28/2021. (Milov−Cordoba, M.) (Entered:
                 10/28/2021)
10/19/2021   390 TRANSCRIPT of Proceedings: Type of Hearing: Telephonic Status Conference held
                 on June 8, 2018 before Judge Alvin W. Thompson. Court Reporter: Corinna F.
                 Thompson. IMPORTANT NOTICE − REDACTION OF TRANSCRIPTS: To
                 remove personal identifier information from the transcript, a party must electronically
                 file a Notice of Intent to Request Redaction with the Clerk's Office within seven (7)
                 calendar days of this date. If no such Notice is filed, the court will assume redaction of
                 personal identifiers is not necessary and the transcript will be made available through
                 PACER without redaction 90 days from today's date. The transcript may be viewed at
                 the court public terminal or purchased through the Court Reporter/Transcriber before
                 the deadline for Release of Transcript Restriction. After that date it may be obtained
                 through PACER. The policy governing the redaction of personal information is located
                 on the court website at www.ctd.uscourts.gov. Redaction Request due 11/9/2021.
                 Redacted Transcript Deadline set for 11/19/2021. Release of Transcript Restriction set
                 for 1/17/2022. (Thompson, C.) (Entered: 10/19/2021)
10/04/2021   389 ORDER: The plaintiffs' Motion for Leave to File Response to Defendants'
                 Supplemental Brief (ECF No. 388 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 10/4/2021. (Milov−Cordoba, M.) (Entered: 10/04/2021)
10/01/2021   388 MOTION for Leave to File Response to Defendants' Supplemental Brief (Doc. 381) by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1
                 Supplement Proposed Response)(Soyars, Sean) (Entered: 10/01/2021)
09/30/2021   387 For the reasons set forth in the attached order, non−party Aon Investments USA Inc.'s
                 Motion to Seal Certain Exhibits (ECF No. 326 ) is hereby GRANTED. It is so ordered.
                 Signed by Judge Alvin W. Thompson on 9/30/2021. (Milov−Cordoba, M.) Modified
                 on 10/4/2021 to mark as an Opinion (Ferguson, L.). (Entered: 09/30/2021)
09/30/2021   386 For the reasons set forth in the attached order, non−party The Vanguard Group, Inc.'s
                 Cross−Motion to Permanently Seal (ECF No. 329 ) is hereby GRANTED. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 9/30/2021. (Milov−Cordoba, M.)
                 Modified on 10/4/2021 to mark as an Opinion (Ferguson, L.). (Entered: 09/30/2021)
09/30/2021   385 For the reasons set forth in the attached order, non−party Teachers Insurance and
                 Annuity Association of America's Cross−Motion to Permanently Seal (ECF No. 332 )
                 is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 9/30/2021. (Milov−Cordoba, M.) Modified on 10/4/2021 to mark as an Opinion
                 (Ferguson, L.). (Entered: 09/30/2021)
09/30/2021   384 For the reasons set forth in the attached order, Plaintiffs' Emergency Motion to Stay
                 Briefing on Defendants' Motions to Exclude (ECF No. 288 ) is hereby DENIED. It is
                 so ordered. Signed by Judge Alvin W. Thompson on 9/30/2021. (Milov−Cordoba, M.)
                 Modified on 10/4/2021 to mark as an Opinion (Ferguson, L.). (Entered: 09/30/2021)
09/24/2021   383 ORDER: The defendants' Motion for Leave to File Under Seal a Response to the
                 Plaintiffs' Proposed Supplemental Brief Regarding Additional Authority (ECF No. 380
                 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 9/24/2021. (Milov−Cordoba, M.) (Entered: 09/24/2021)
09/22/2021   382 ORDER: The plaintiffs' Motion for Leave to File Supplemental Brief Regarding
                 Additional Authority Supporting Denial of Summary Judgment (ECF No. 379 ) is
                 hereby GRANTED, absent objection. Signed by Judge Alvin W. Thompson on
                 9/22/2021. (Milov−Cordoba, M.) (Entered: 09/22/2021)
09/20/2021   381 Sealed Document: Defendants' [Proposed] Response to Plaintiffs' Proposed
                 Supplemental Brief Regarding Additional Authority [Dkt. 379−1] by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University . (Ross, Nancy) (Entered:
                 09/20/2021)
09/20/2021   380 MOTION for Leave to File Under Seal Response to Plaintiffs' Proposed Supplemental
                 Brief Regarding Additional Authority [Dkt. 379−1] by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1 [Proposed]
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                  Response (Redacted))(Ross, Nancy) (Entered: 09/20/2021)
09/17/2021   379 MOTION for Leave to File Supplemental Brief Regarding Additional Authority
                 Supporting Denial of Summary Judgment by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Attachments: # 1 Proposed Supplemental Brief Regarding
                 Additional Authority)(Soyars, Sean) (Entered: 09/17/2021)
09/08/2021   378 CERTIFICATE OF GOOD STANDING re 372 MOTION for Attorney(s) LaRue L.
                 Robinson to be Admitted Pro Hac Vice (includes a request to waive the fee) by Aon
                 Hewitt Investment Consulting, Inc.. (Robinson, LaRue) (Entered: 09/08/2021)
09/08/2021   377 CERTIFICATE OF GOOD STANDING re 370 MOTION for Attorney(s) Amanda S.
                 Amert to be Admitted Pro Hac Vice (includes a request to waive the fee) by Aon
                 Hewitt Investment Consulting, Inc.. (Amert, Amanda) (Entered: 09/08/2021)
09/07/2021   376 ORDER finding as moot 325 Motion to Appear for Attorney LaRue L. Robinson to be
                 Admitted Pro Hac Vice. Signed by Judge Alvin W. Thompson on 9/7/2021. (Agati,
                 Kathryn) (Entered: 09/07/2021)
09/07/2021   375 ORDER granting 372 Motion to Appear for Attorney LaRue L. Robinson to be
                 Admitted Pro Hac Vice. Certificate of Good Standing due by 11/6/2021. Signed by
                 Clerk on 9/7/2021. (Agati, Kathryn) (Entered: 09/07/2021)
09/07/2021   374 ORDER finding as moot 324 Motion to Appear for Attorney Amanda S. Amert to be
                 Admitted Pro Hac Vice. Signed by Judge Alvin W. Thompson on 9/7/2021. (Agati,
                 Kathryn) (Entered: 09/07/2021)
09/07/2021   373 ORDER granting 370 Motion to Appear for Attorney Amanda S. Amert to be
                 Admitted Pro Hac Vice. Certificate of Good Standing due by 11/6/2021. Signed by
                 Clerk on 9/7/2021. (Agati, Kathryn) (Entered: 09/07/2021)
09/03/2021   372 MOTION for Attorney(s) LaRue L. Robinson to be Admitted Pro Hac Vice (includes a
                 request to waive the fee) by Aon Hewitt Investment Consulting, Inc.. (Attachments: #
                 1 Affidavit PHV Affidavit)(Freimuth, Matthew) (Entered: 09/03/2021)
09/03/2021   371 ENTERED IN ERROR − MOTION for Attorney(s) LaRue L. Robinson to be
                 Admitted Pro Hac Vice (includes a request to waive the fee) by Aon Hewitt
                 Investment Consulting, Inc.. (Attachments: # 1 Affidavit PHV Affidavit)(Freimuth,
                 Matthew) Modified on 9/3/2021 (Freberg, B). (Entered: 09/03/2021)
09/03/2021   370 MOTION for Attorney(s) Amanda S. Amert to be Admitted Pro Hac Vice (includes a
                 request to waive the fee) by Aon Hewitt Investment Consulting, Inc.. (Attachments: #
                 1 Affidavit PHV Affidavit)(Freimuth, Matthew) (Entered: 09/03/2021)
09/03/2021   369 ORDER: The Plaintiffs' Motion for Leave to File a Response to Defendants'
                 Supplemental Brief (ECF No. 368 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 9/2/2021. (Milov−Cordoba, M.) (Entered: 09/03/2021)
09/01/2021   368 MOTION for Leave to File a Response to Defendants' Supplemental Brief (Doc.
                 365−1) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Proposed Response)(Schlichter, Andrew) (Entered: 09/01/2021)
08/16/2021   367 REPLY to Response to 360 MOTION for Leave to File Supplemental Evidence in
                 Opposition to Defendants' Motion for Summary Judgment (Doc. 267) and Motion to
                 Exclude Daniel Alexander (Doc. 272) filed by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Soyars, Sean) (Entered: 08/16/2021)
08/16/2021   366 ORDER: Defendants' Motion for Leave to File a Supplemental Brief Regarding
                 Additional Supporting Their Motion for Summary Judgment (ECF No. 365 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 8/16/2021.
                 (Burks, L.) (Entered: 08/16/2021)
08/11/2021   365 MOTION for Leave to File a Supplemental Brief Regarding Additional Authority
                 Supporting their Motion for Summary Judgment by Michael A. Peel, The Retirement
                 Plan Fiduciary Committee, Yale University. (Attachments: # 1 Proposed Supplemental
                 Brief, # 2 Exhibit A)(Ross, Nancy) (Entered: 08/11/2021)
08/04/2021   364 ORDER: Defendants' Motion to Provisionally Seal Portions of Their Response In
                 Opposition to Plaintiffs Motion for Leave To File Supplemental Evidence (ECF No.
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                  362 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                  8/4/2021. (Burks, L.) (Entered: 08/04/2021)
08/02/2021   363 Sealed Document: Defendants' Opposition to Plaintiffs' Motion for Leave to File
                 Supplemental Evidence by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University . (Ross, Nancy) (Entered: 08/02/2021)
08/02/2021   362 MOTION to Seal Portions of Defendants' Response in Opposition to Plaintiffs' Motion
                 for Leave to File Supplemental Evidence by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Ross, Nancy) (Entered: 08/02/2021)
08/02/2021   361 Memorandum in Opposition re 360 MOTION for Leave to File Supplemental
                 Evidence in Opposition to Defendants' Motion for Summary Judgment (Doc. 267) and
                 Motion to Exclude Daniel Alexander (Doc. 272) filed by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Ross, Nancy) (Entered:
                 08/02/2021)
07/27/2021   360 MOTION for Leave to File Supplemental Evidence in Opposition to Defendants'
                 Motion for Summary Judgment (Doc. 267) and Motion to Exclude Daniel Alexander
                 (Doc. 272) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Memorandum in Support, # 2 Declaration of Daniel Alexander, # 3
                 Exhibit A, # 4 Exhibit B)(Schlichter, Andrew) (Entered: 07/27/2021)
04/21/2021   359 ORDER: Attorney Netter's Motion for Withdrawal of Appearance (ECF No. 358 ) is
                 hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 4/21/2021. (Burks, L.) (Entered: 04/21/2021)
04/20/2021   358 MOTION for Brian D. Netter to Withdraw as Attorney by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered:
                 04/20/2021)
04/07/2021   357 ORDER: Non−Party Aon Investments USA Inc.'s Motion for Leave to File Out of
                 Time and Instanter (ECF No. 356 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 4/7/2021. (Burks, L.) (Entered: 04/07/2021)
04/06/2021   356 MOTION for Leave to File NON−PARTY AON INVESTMENTS USA INC.S MOTION
                 FOR LEAVE TO FILE OUT OF TIME AND INSTANTER by Aon Hewitt Investment
                 Consulting, Inc.. (Attachments: # 1 Exhibit)(Freimuth, Matthew) (Entered:
                 04/06/2021)
04/05/2021   355 RESPONSE re 353 Notice of Additional Authority, filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 04/05/2021)
04/01/2021   354 Memorandum in Support re 329 MOTION to Seal Certain Exhibits REPLY
                 MEMORANDUM IN SUPPORT OF MOTION filed by Vanguard Group, Inc..
                 (Salmon−Smith, Tracey) (Entered: 04/01/2021)
03/31/2021   353 Notice of Additional Authority re 272 MOTION to Exclude Plaintiffs' Expert Daniel
                 Alexander , 267 MOTION for Summary Judgment filed by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1 Harmon v.
                 Shell Oil Co., ECF No. 138 (S.D. Tex. Mar. 30, 2021), # 2 Harmon v. Shell Oil Co.,
                 ECF No. 139 (S.D. Tex. Mar. 31, 2021))(Netter, Brian) (Entered: 03/31/2021)
03/30/2021   352 Memorandum in Support re 332 MOTION to Seal (NON−PARTY TIAAS NOTICE OF
                 CROSS−MOTION TO PERMANENTLY SEAL) [REPLY MEMORANDUM IN
                 SUPPORT OF NON−PARTY TIAAS ] filed by Teachers Insurance and Annuity
                 Association of America. (Glasser, James) (Entered: 03/30/2021)
03/25/2021   351 RESPONSE re 350 Notice of Additional Authority, filed by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered:
                 03/25/2021)
03/18/2021   350 Notice of Additional Authority re 267 MOTION for Summary Judgment filed by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1
                 Cates v. Tr. of Colum. Univ. in N.Y.C., ECF No. 423 (S.D.N.Y. Mar. 15,
                 2021))(Schlichter, Andrew) (Entered: 03/18/2021)
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03/16/2021   349 Memorandum in Opposition re 329 MOTION to Seal Certain Exhibits filed by Nancy
                 S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew)
                 (Entered: 03/16/2021)
03/16/2021   348 Memorandum in Opposition re 326 MOTION to Seal Certain Exhibits filed by Nancy
                 S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew)
                 (Entered: 03/16/2021)
03/16/2021   347 Memorandum in Opposition re 332 MOTION to Seal (NON−PARTY TIAAS NOTICE
                 OF CROSS−MOTION TO PERMANENTLY SEAL) filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 03/16/2021)
03/04/2021   346 REPLY to Response to 278 MOTION to Exclude Plaintiffs' Experts Al Otto and Ty
                 Minnich (Redacted Reply in Support of Defendants' Motion to Exclude Plaintiffs'
                 Experts Al Otto and Ty Minnich) filed by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 03/04/2021)
03/04/2021   345 REPLY to Response to 275 MOTION to Exclude Plaintiffs' Experts Wendy
                 Dominguez and Gerald Buetow (Redacted Reply in Support of Defendants' Motion to
                 Exclude Plaintiffs' Experts Wendy Dominguez and Gerald Buetow) filed by Michael
                 A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian)
                 (Entered: 03/04/2021)
03/04/2021   344 REPLY to Response to 272 MOTION to Exclude Plaintiffs' Expert Daniel Alexander
                 (Redacted Reply in Support of Defendants' Motion to Exclude Plaintiffs' Expert Daniel
                 Alexander) filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Netter, Brian) (Entered: 03/04/2021)
03/04/2021   343 REPLY to Response to 267 MOTION for Summary Judgment (Redacted Reply in
                 Support of Defendants' Motion for Summary Judgment) filed by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered:
                 03/04/2021)
03/04/2021   342 EXHIBIT Supplemental Declaration of Brian D. Netter in Support of Defendants'
                 Motion for Summary Judgment and Motions to Exclude Plaintiffs' Expert Witnesses by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University re 278
                 MOTION to Exclude Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to
                 Exclude Plaintiffs' Experts Wendy Dominguez and Gerald Buetow , 267 MOTION for
                 Summary Judgment , 272 MOTION to Exclude Plaintiffs' Expert Daniel Alexander .
                 (Attachments: # 1 Exhibit 121, # 2 Exhibit 122, # 3 Exhibit 123, # 4 Exhibit 124, # 5
                 Exhibit 125, # 6 Exhibit 126, # 7 Exhibit 127)(Netter, Brian) (Entered: 03/04/2021)
03/04/2021   341 Sealed Document: Reply in Support of Defendants' Motion to Exclude Plaintiffs'
                 Experts Al Otto and Ty Minnich by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University re 278 MOTION to Exclude Plaintiffs' Experts Al Otto
                 and Ty Minnich . (Netter, Brian) (Entered: 03/04/2021)
03/04/2021   340 Sealed Document: Reply in Support of Defendants' Motion to Exclude Plaintiffs'
                 Experts Wendy Dominguez and Gerald Buetow by Michael A. Peel, The Retirement
                 Plan Fiduciary Committee, Yale University re 275 MOTION to Exclude Plaintiffs'
                 Experts Wendy Dominguez and Gerald Buetow . (Netter, Brian) (Entered: 03/04/2021)
03/04/2021   339 Sealed Document: Reply in Support of Defendants' Motion to Exclude Plaintiffs'
                 Expert Daniel Alexander by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University re 272 MOTION to Exclude Plaintiffs' Expert Daniel
                 Alexander . (Netter, Brian) (Entered: 03/04/2021)
03/04/2021   338 Sealed Document: Reply in Support of Defendants' Motion for Summary Judgment by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University re 267
                 MOTION for Summary Judgment . (Netter, Brian) (Entered: 03/04/2021)
02/24/2021   337 NOTICE of Appearance by Matthew Freimuth on behalf of Aon Hewitt Investment
                 Consulting, Inc. (Freimuth, Matthew) (Entered: 02/24/2021)
02/24/2021   336 CERTIFICATE OF GOOD STANDING re 331 MOTION for Attorney(s) Lori A.
                 Martin to be Admitted Pro Hac Vice (paid $200 PHV fee; receipt number
                 ACTDC−6401335) by Teachers Insurance and Annuity Association of America.
                 (Glasser, James) (Entered: 02/24/2021)
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02/24/2021   335 ORDER granting 331 Motion to Appear for Attorney Lori A. Martin to be Admitted
                 Pro Hac Vice. Certificate of Good Standing due by 4/25/2021. Signed by Clerk on
                 2/24/2021. (Agati, Kathryn) (Entered: 02/24/2021)
02/23/2021   334 RESPONSE re 316 MOTION to Seal Plaintiffs' Unredacted Memorandum in
                 Opposition to Motion for Summary Judgment, Memorandums in Opposition to
                 Daubert Motions, Response in Opposition to Rule 56 Statement, and Supporting
                 Exhibits filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Exhibit A − P25)(Schlichter, Andrew) (Entered: 02/23/2021)
02/23/2021   333 Corporate Disclosure Statement by Teachers Insurance and Annuity Association of
                 America identifying Corporate Parent Teachers Insurance and Annuity Association of
                 America Board of Overseers for Teachers Insurance and Annuity Association of
                 America. (Glasser, James) (Entered: 02/23/2021)
02/23/2021   332 MOTION to Seal (NON−PARTY TIAAS NOTICE OF CROSS−MOTION TO
                 PERMANENTLY SEAL) by Teachers Insurance and Annuity Association of America.
                 (Attachments: # 1 Memorandum in Support, # 2 Affidavit / Declaration of Douglas
                 Chittenden)(Glasser, James) (Entered: 02/23/2021)
02/23/2021   331 MOTION for Attorney(s) Lori A. Martin to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−6401335) by Teachers Insurance and Annuity
                 Association of America. (Attachments: # 1 Affidavit of Lori. A. Martin)(Glasser,
                 James) (Entered: 02/23/2021)
02/23/2021   330 NOTICE of Appearance by James I. Glasser on behalf of Teachers Insurance and
                 Annuity Association of America (Glasser, James) (Entered: 02/23/2021)
02/23/2021   329 MOTION to Seal Certain Exhibits by Vanguard Group, Inc.. (Attachments: # 1
                 Memorandum in Support of Motion to Seal)(Salmon−Smith, Tracey) (Entered:
                 02/23/2021)
02/23/2021   328 AFFIDAVIT re 327 Memorandum in Support of Motion (Declaration of William
                 Ryan) Signed By William Ryan filed by Aon Hewitt Investment Consulting, Inc..
                 (Freimuth, Matthew) (Entered: 02/23/2021)
02/23/2021   327 Memorandum in Support re 326 MOTION to Seal Certain Exhibits (NON−PARTY
                 AON INVESTMENTS USA INC.S MEMORANDUM OF LAW IN SUPPORT OF ITS
                 MOTION TO SEAL) filed by Aon Hewitt Investment Consulting, Inc.. (Freimuth,
                 Matthew) (Entered: 02/23/2021)
02/23/2021   326 MOTION to Seal Certain Exhibits by Aon Hewitt Investment Consulting, Inc..
                 (Freimuth, Matthew) (Entered: 02/23/2021)
02/23/2021   325 MOTION for Attorney(s) LaRue L. Robinson to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−6400145) by Aon Hewitt Investment Consulting,
                 Inc.. (Attachments: # 1 Affidavit Affidavit of LaRue Robinson)(Freimuth, Matthew)
                 (Entered: 02/23/2021)
02/23/2021   324 MOTION for Attorney(s) Amanda S. Amert to be Admitted Pro Hac Vice (paid $200
                 PHV fee; receipt number ACTDC−6400116) by Aon Hewitt Investment Consulting,
                 Inc.. (Attachments: # 1 Affidavit Affidavit of Amanda Amert)(Freimuth, Matthew)
                 (Entered: 02/23/2021)
02/23/2021   323 RESPONSE re 316 MOTION to Seal Plaintiffs' Unredacted Memorandum in
                 Opposition to Motion for Summary Judgment, Memorandums in Opposition to
                 Daubert Motions, Response in Opposition to Rule 56 Statement, and Supporting
                 Exhibits filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Netter, Brian) (Entered: 02/23/2021)
02/19/2021   322 ORDER: Defendants' Emergency Motion for Leave to File Excess Pages for Reply
                 Brief (ECF No. 320 ) is hereby GRANTED, over objection. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 2/19/2021. (Burks, L.) (Entered: 02/19/2021)
02/15/2021   321 Memorandum in Opposition re 320 Emergency MOTION for Leave to File Excess
                 Pages for Summary Judgment Reply Brief filed by Nancy S. Lowers, James Mancini,
                 Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit 1)(Schlichter, Andrew)
                 (Entered: 02/15/2021)
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02/15/2021   320 Emergency MOTION for Leave to File Excess Pages for Summary Judgment Reply
                 Brief by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                 (Netter, Brian) (Entered: 02/15/2021)
02/08/2021   319 ORDER: Plaintiff's Sealed Motion to Strike and Substitute Redacted Briefs (ECF No.
                 318 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 2/8/2021. (Burks, L.) (Entered: 02/08/2021)
02/05/2021   318 SEALED MOTION to Strike and Substitute Redacted Briefs by Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B)(Schlichter, Andrew) (Entered: 02/05/2021)
02/03/2021   317 ORDER: Plaintiffs' Motion to Provisionally Seal (ECF NO. 316 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 2/3/2021.
                 (Burks, L.) (Entered: 02/03/2021)
02/02/2021   316 MOTION to Seal Plaintiffs' Unredacted Memorandum in Opposition to Motion for
                 Summary Judgment, Memorandums in Opposition to Daubert Motions, Response in
                 Opposition to Rule 56 Statement, and Supporting Exhibits by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   315 Sealed Document: Sealed Exhibits to Rohlf Declaration by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali re 309 Affidavit,,,,,,,,,, . (Attachments: # 1
                 Exhibit P6 − Sealed, # 2 Exhibit P8 − Sealed, # 3 Exhibit P9 − Sealed, # 4 Exhibit P13
                 − Sealed, # 5 Exhibit P25 − Sealed, # 6 Exhibit P27 − Sealed, # 7 Exhibit P31 −
                 Sealed, # 8 Exhibit P34 − Sealed, # 9 Exhibit P40 − Sealed, # 10 Exhibit P47 − Sealed,
                 # 11 Exhibit P57 − Sealed, # 12 Exhibit P66 − Sealed, # 13 Exhibit P67 − Sealed, # 14
                 Exhibit P69 − Sealed, # 15 Exhibit P70 − Sealed, # 16 Exhibit P72 − Sealed, # 17
                 Exhibit P73 − Sealed, # 18 Exhibit P81 − Sealed, # 19 Exhibit P86 − Sealed, # 20
                 Exhibit P87 − Sealed, # 21 Exhibit P89 − Sealed, # 22 Exhibit P90 − Sealed, # 23
                 Exhibit P92 − Sealed, # 24 Exhibit P97 − Sealed, # 25 Exhibit P99 − Sealed, # 26
                 Exhibit P103 − Sealed, # 27 Exhibit P107 − Sealed, # 28 Exhibit P110 − Sealed, # 29
                 Exhibit P111 − Sealed, # 30 Exhibit P114 − Sealed)(Schlichter, Andrew) (Entered:
                 02/02/2021)
02/02/2021   314 AFFIDAVIT re 303 Memorandum in Opposition to Motion Signed By Al Otto filed
                 by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter,
                 Andrew) (Entered: 02/02/2021)
02/02/2021   313 AFFIDAVIT re 303 Memorandum in Opposition to Motion Signed By Ty Minnich
                 filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   312 AFFIDAVIT re 305 Memorandum in Opposition to Motion Signed By Wendy
                 Dominguez filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   311 AFFIDAVIT re 306 Sealed Document, Signed By Gerald Buetow filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew)
                 (Entered: 02/02/2021)
02/02/2021   310 AFFIDAVIT re 307 Memorandum in Opposition to Motion Signed By Daniel
                 Alexander filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   309 AFFIDAVIT re 301 Response, 303 Memorandum in Opposition to Motion, 305
                 Memorandum in Opposition to Motion, 299 Memorandum in Opposition to Motion,
                 307 Memorandum in Opposition to Motion Signed By Joel D. Rohlf filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit
                 P1, # 2 Exhibit P2, # 3 Exhibit P3, # 4 Exhibit P4, # 5 Exhibit P5, # 6 Exhibit P6, # 7
                 Exhibit P7, # 8 Exhibit P8, # 9 Exhibit P9, # 10 Exhibit P10, # 11 Exhibit P11, # 12
                 Exhibit P12, # 13 Exhibit P13, # 14 Exhibit P14, # 15 Exhibit P15, # 16 Exhibit P16, #
                 17 Exhibit P17, # 18 Exhibit P18, # 19 Exhibit P19, # 20 Exhibit P20, # 21 Exhibit
                 P21, # 22 Exhibit P22, # 23 Exhibit P23, # 24 Exhibit P24, # 25 Exhibit P25, # 26
                 Exhibit P26, # 27 Exhibit P27, # 28 Exhibit P28, # 29 Exhibit P29, # 30 Exhibit P30, #
                 31 Exhibit P31, # 32 Exhibit P32, # 33 Exhibit P33, # 34 Exhibit P34, # 35 Exhibit
                 P35, # 36 Exhibit P36, # 37 Exhibit P37, # 38 Exhibit P38, # 39 Exhibit P39, # 40
                 Exhibit P40, # 41 Exhibit P41, # 42 Exhibit P42, # 43 Exhibit P43, # 44 Exhibit P44, #
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                  45 Exhibit P45, # 46 Exhibit P46, # 47 Exhibit P47, # 48 Exhibit P48, # 49 Exhibit
                  P49, # 50 Exhibit P50, # 51 Exhibit P51, # 52 Exhibit P52, # 53 Exhibit P53, # 54
                  Exhibit P54, # 55 Exhibit P55, # 56 Exhibit P56, # 57 Exhibit P57, # 58 Exhibit P58, #
                  59 Exhibit P59, # 60 Exhibit P60, # 61 Exhibit P61, # 62 Exhibit P62, # 63 Exhibit
                  P63, # 64 Exhibit P64, # 65 Exhibit P65, # 66 Exhibit P66, # 67 Exhibit P67, # 68
                  Exhibit P68, # 69 Exhibit P69, # 70 Exhibit P70, # 71 Exhibit P71, # 72 Exhibit P72, #
                  73 Exhibit P73, # 74 Exhibit P74, # 75 Exhibit P75, # 76 Exhibit P76, # 77 Exhibit
                  P77, # 78 Exhibit P78, # 79 Exhibit P79, # 80 Exhibit P80, # 81 Exhibit P81, # 82
                  Exhibit P82, # 83 Exhibit P83, # 84 Exhibit P84, # 85 Exhibit P85, # 86 Exhibit P86, #
                  87 Exhibit P87, # 88 Exhibit P88, # 89 Exhibit P89, # 90 Exhibit P90, # 91 Exhibit
                  P91, # 92 Exhibit P92, # 93 Exhibit P93, # 94 Exhibit P94, # 95 Exhibit P95, # 96
                  Exhibit P96, # 97 Exhibit P97, # 98 Exhibit P98, # 99 Exhibit P99, # 100 Exhibit
                  P100, # 101 Exhibit P101, # 102 Exhibit P102, # 103 Exhibit P103, # 104 Exhibit
                  P104, # 105 Exhibit P105, # 106 Exhibit P106, # 107 Exhibit P107, # 108 Exhibit
                  P108, # 109 Exhibit P109, # 110 Exhibit P110, # 111 Exhibit P111, # 112 Exhibit
                  P112, # 113 Exhibit P113, # 114 Exhibit P114)(Schlichter, Andrew) (Entered:
                  02/02/2021)
02/02/2021   308 Sealed Document: Plaintiffs' Opposition to Defendants' Motion to Exclude Plaintiffs'
                 Expert Daniel Alexander by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali re 307 Memorandum in Opposition to Motion . (Schlichter, Andrew)
                 (Entered: 02/02/2021)
02/02/2021   307 − STRICKEN − Memorandum in Opposition (Redacted) re 272 MOTION to Exclude
                 Plaintiffs' Expert Daniel Alexander filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Schlichter, Andrew) Modified on 2/11/2021 (Ferguson, L.).
                 (Additional attachment(s) added on 2/11/2021: # 1 Substituted Memorandum in
                 Opposition) (Ferguson, L.). (Entered: 02/02/2021)
02/02/2021   306 Sealed Document: Plaintiffs' Memorandum in Opposition to Defendants' Motion to
                 Exclude Plaintiffs' Experts Wendy Dominguez and Gerald Buetow by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 305 Memorandum in
                 Opposition to Motion . (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   305 Memorandum in Opposition (Redacted) re 275 MOTION to Exclude Plaintiffs'
                 Experts Wendy Dominguez and Gerald Buetow filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   304 Sealed Document: Plaintiffs' Memorandum in Opposition to Defendants' Motion to
                 Exclude Plaintiffs' Experts Al Otto and Ty Minnich by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali re 303 Memorandum in Opposition to
                 Motion . (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   303 Memorandum in Opposition (Redacted) re 278 MOTION to Exclude Plaintiffs'
                 Experts Al Otto and Ty Minnich filed by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   302 Sealed Document: Plaintiffs' Local Rule 56(a)(2) Statement of Facts in Opposition to
                 Summary Judgment by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali re 301 Response . (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   301 RESPONSE re 269 Statement of Material Facts (Redacted) filed by Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered:
                 02/02/2021)
02/02/2021   300 Sealed Document: Memorandum in Opposition to Motion for Summary Judgment by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 299
                 Memorandum in Opposition to Motion . (Schlichter, Andrew) (Entered: 02/02/2021)
02/02/2021   299 − STRICKEN − Memorandum in Opposition (Redacted) re 267 MOTION for
                 Summary Judgment filed by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Schlichter, Andrew) Modified on 2/11/2021 (Ferguson, L.).
                 (Additional attachment(s) added on 2/11/2021: # 1 Substituted Memorandum in
                 Opposition) (Ferguson, L.). (Entered: 02/02/2021)
01/27/2021   298 ORDER: Plaintiffs' Emergency Motion for Leave for Additional Pages for Local Rule
                 56(a)(2) Statement (ECF No. 297 ) is hereby GRANTED. The Plaintiffs may file ten
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                  additional pages in support of their Local Rule 56(a)(2) Statement. It is so ordered.
                  Signed by Judge Alvin W. Thompson on 1/27/2021. (Burks, L.) (Entered: 01/27/2021)
01/26/2021   297 Emergency MOTION for Leave to File Excess Pages for Local Rule 56(a)(2)
                 Statement by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 01/26/2021)
01/20/2021   296 REPLY to Response to 288 Emergency MOTION to Stay re 278 MOTION to Exclude
                 Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to Exclude Plaintiffs'
                 Experts Wendy Dominguez and Gerald Buetow , 272 MOTION to Exclude Plaintiffs&
                 filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Schlichter,
                 Andrew) (Entered: 01/20/2021)
01/14/2021   295 RESPONSE re 288 Emergency MOTION to Stay re 278 MOTION to Exclude
                 Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to Exclude Plaintiffs'
                 Experts Wendy Dominguez and Gerald Buetow , 272 MOTION to Exclude Plaintiffs&
                 filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                 (Attachments: # 1 Exhibit A)(Netter, Brian) (Entered: 01/14/2021)
01/11/2021   294 RESPONSE by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University Reply to [ECF No. 282] Motion to Provisionally Seal Portions of the
                 Summary Judgment and Daubert Papers. (Netter, Brian) (Entered: 01/11/2021)
01/08/2021   293 ORDER: Defendants' Motion to Provisionally Seal (ECF No. 282 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 1/8/2021.
                 (Burks, L.) (Entered: 01/08/2021)
12/29/2020   292 ORDER: Plaintiffs' Motion to Preliminarily Seal (ECF No. 287 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 12/29/2020.
                 (Burks, L.) (Entered: 12/30/2020)
12/28/2020   291 RESPONSE re 282 MOTION to Seal Portions of Defendants' Summary Judgment and
                 Daubert Papers filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 Email Chain 12.2−3.20, # 3 Exhibit
                 3 Email Chain 12.21.20, # 4 Exhibit 4 Email 12.28.20)(Schlichter, Andrew) (Entered:
                 12/28/2020)
12/24/2020   290 Sealed Document: Memorandum in Support of Plaintiffs' Emergency Motion to Stay
                 Briefing on Defendants' Motions to Exclude by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali re 288 Emergency MOTION to Stay re 278 MOTION to
                 Exclude Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to Exclude
                 Plaintiffs' Experts Wendy Dominguez and Gerald Buetow , 272 MOTION to Exclude
                 Plaintiffs& . (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                 4)(Schlichter, Andrew) (Entered: 12/24/2020)
12/24/2020   289 Memorandum in Support re 288 Emergency MOTION to Stay re 278 MOTION to
                 Exclude Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to Exclude
                 Plaintiffs' Experts Wendy Dominguez and Gerald Buetow , 272 MOTION to Exclude
                 Plaintiffs& (redacted) filed by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Attachments: # 1 Exhibit 1 (slipsheet), # 2 Exhibit 2, # 3 Exhibit 3
                 (slipsheet), # 4 Exhibit 4)(Schlichter, Andrew) (Entered: 12/24/2020)
12/24/2020   288 Emergency MOTION to Stay re 278 MOTION to Exclude Plaintiffs' Experts Al Otto
                 and Ty Minnich , 275 MOTION to Exclude Plaintiffs' Experts Wendy Dominguez and
                 Gerald Buetow , 272 MOTION to Exclude Plaintiffs' Expert Daniel Alexander by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.Responses due by
                 1/14/2021 (Schlichter, Andrew) (Entered: 12/24/2020)
12/24/2020   287 MOTION to Seal Emergency Motion to Stay Briefing on Defendants' Motions to
                 Exclude by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 12/24/2020)
12/22/2020        Set/Reset Deadlines as to 272 MOTION to Exclude Plaintiffs' Expert Daniel
                  Alexander , 278 MOTION to Exclude Plaintiffs' Experts Al Otto and Ty Minnich , 275
                  MOTION to Exclude Plaintiffs' Experts Wendy Dominguez and Gerald Buetow .
                  Responses due by 2/2/2021. (Ferguson, L.) (Entered: 01/04/2021)
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12/22/2020   286 Plaintiffs' Unopposed Motion for Extension of Time to Respond to Defendants'
                 Motions to Exclude (ECF No. 285 ) is hereby GRANTED. Plaintiffs have until
                 February 2, 2021 to file their oppositions to Defendants' Motions to Exclude. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 12/16/2020. (Burks, L.) Modified on
                 1/4/2021 to include link 285 to Motion in Order (Ferguson, L.). (Entered: 12/22/2020)
12/14/2020   285 MOTION for Extension of Time to File Response/Reply as to 278 MOTION to
                 Exclude Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to Exclude
                 Plaintiffs' Experts Wendy Dominguez and Gerald Buetow , 272 MOTION to Exclude
                 Plaintiffs' Expert Daniel Alexander until February 2, 2021 by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 12/14/2020)
12/07/2020   284 Sealed Document: Exhibit 73 to Declaration of Brian D. Netter in Support of
                 Defendants' Motion to Seal by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University re 282 MOTION to Seal Portions of Defendants'
                 Summary Judgment and Daubert Papers . (Netter, Brian) (Entered: 12/07/2020)
12/04/2020   283 Sealed Document: Declaration of Brian D. Netter in Support of Defendants' Motion to
                 Seal by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University
                 re 282 MOTION to Seal Portions of Defendants' Summary Judgment and Daubert
                 Papers . (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                 Exhibit 28, # 17 Exhibit 46, # 18 Exhibit 72, # 19 Exhibit 76, # 20 Exhibit 82, # 21
                 Exhibit 83, # 22 Exhibit 111, # 23 Exhibit 113, # 24 Exhibit 119)(Netter, Brian)
                 (Entered: 12/04/2020)
12/04/2020   282 MOTION to Seal Portions of Defendants' Summary Judgment and Daubert Papers by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter,
                 Brian) (Entered: 12/04/2020)
12/04/2020   281 EXHIBIT (Declaration of Brian D. Netter in Support of Defendants' Motion for
                 Summary Judgment and Motions to Exclude Plaintiffs' Expert Witnesses) by Michael
                 A. Peel, The Retirement Plan Fiduciary Committee, Yale University re 278 MOTION
                 to Exclude Plaintiffs' Experts Al Otto and Ty Minnich , 275 MOTION to Exclude
                 Plaintiffs' Experts Wendy Dominguez and Gerald Buetow , 267 MOTION for
                 Summary Judgment , 272 MOTION to Exclude Plaintiffs' Expert Daniel Alexander .
                 (Attachments: # 1 Exhibit 1 (Slipsheet), # 2 Exhibit 2 (Slipsheet), # 3 Exhibit 3
                 (Slipsheet), # 4 Exhibit 4 (Redacted), # 5 Exhibit 5 (Slipsheet), # 6 Exhibit 6
                 (Slipsheet), # 7 Exhibit 7 (Slipsheet), # 8 Exhibit 8 (Slipsheet), # 9 Exhibit 9
                 (Slipsheet), # 10 Exhibit 10 (Redacted), # 11 Exhibit 11 (Slipsheet), # 12 Exhibit 12
                 (Slipsheet), # 13 Exhibit 13 (Slipsheet), # 14 Exhibit 14 (Slipsheet), # 15 Exhibit 15
                 (Slipsheet), # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28 (Slipsheet), # 29 Exhibit
                 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34,
                 # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, #
                 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45
                 Exhibit 45, # 46 Exhibit 46 (Slipsheet), # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit
                 49, # 50 Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54,
                 # 55 Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, #
                 60 Exhibit 60, # 61 Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65
                 Exhibit 65, # 66 Exhibit 66, # 67 Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70
                 Exhibit 70, # 71 Exhibit 71, # 72 Exhibit 72 (Slipsheet), # 73 Exhibit 73, # 74 Exhibit
                 74, # 75 Exhibit 75, # 76 Exhibit 76 (Slipsheet), # 77 Exhibit 77, # 78 Exhibit 78, # 79
                 Exhibit 79, # 80 Exhibit 80, # 81 Exhibit 81, # 82 Exhibit 82 (Slipsheet), # 83 Exhibit
                 83 (Slipsheet), # 84 Exhibit 84, # 85 Exhibit 85, # 86 Exhibit 86, # 87 Exhibit 87, # 88
                 Exhibit 88, # 89 Exhibit 89, # 90 Exhibit 90, # 91 Exhibit 91, # 92 Exhibit 92, # 93
                 Exhibit 93, # 94 Exhibit 94, # 95 Exhibit 95, # 96 Exhibit 96, # 97 Exhibit 97, # 98
                 Exhibit 98, # 99 Exhibit 99, # 100 Exhibit 100, # 101 Exhibit 101, # 102 Exhibit 102,
                 # 103 Exhibit 103, # 104 Exhibit 104, # 105 Exhibit 105, # 106 Exhibit 106, # 107
                 Exhibit 107, # 108 Exhibit 108, # 109 Exhibit 109, # 110 Exhibit 110, # 111 Exhibit
                 111 (Slipsheet), # 112 Exhibit 112, # 113 Exhibit 113 (Redacted), # 114 Exhibit 114, #
                 115 Exhibit 115, # 116 Exhibit 116, # 117 Exhibit 117, # 118 Exhibit 118, # 119
                 Exhibit 119 (Slipsheet), # 120 Exhibit 120)(Netter, Brian) (Entered: 12/04/2020)
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12/04/2020   280 Sealed Document: Memorandum of Law in Support of Defendants' Motion to Exclude
                 Plaintiffs' Experts Al Otto and Ty Minnich by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University re 278 MOTION to Exclude Plaintiffs' Experts
                 Al Otto and Ty Minnich . (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   279 Memorandum in Support re 278 MOTION to Exclude Plaintiffs' Experts Al Otto and
                 Ty Minnich (Redacted) filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   278 MOTION to Exclude Plaintiffs' Experts Al Otto and Ty Minnich by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University.Responses due by
                 12/25/2020 (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   277 Sealed Document: Memorandum of Law in Support of Defendants' Motion to Exclude
                 Plaintiffs' Experts Wendy Dominguez and Gerald Buetow by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University re 275 MOTION to Exclude
                 Plaintiffs' Experts Wendy Dominguez and Gerald Buetow . (Netter, Brian) (Entered:
                 12/04/2020)
12/04/2020   276 Memorandum in Support re 275 MOTION to Exclude Plaintiffs' Experts Wendy
                 Dominguez and Gerald Buetow (Redacted) filed by Michael A. Peel, The Retirement
                 Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   275 MOTION to Exclude Plaintiffs' Experts Wendy Dominguez and Gerald Buetow by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University.Responses due by 12/25/2020 (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   274 Sealed Document: Memorandum of Law in Support of Defendants' Motion to Exclude
                 Plaintiffs' Expert Daniel Alexander by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University re 272 MOTION to Exclude Plaintiffs' Expert
                 Daniel Alexander . (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   273 Memorandum in Support re 272 MOTION to Exclude Plaintiffs' Expert Daniel
                 Alexander (Redacted) filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   272 MOTION to Exclude Plaintiffs' Expert Daniel Alexander by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University.Responses due by 12/25/2020
                 (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   271 Sealed Document: Defendants' Local Rule 56(a)(1) Statement of Undisputed Material
                 Facts by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University
                 re 267 MOTION for Summary Judgment . (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   270 Sealed Document: Memorandum of Law in Support of Defendants' Motion for
                 Summary Judgment by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University re 267 MOTION for Summary Judgment . (Netter, Brian) (Entered:
                 12/04/2020)
12/04/2020   269 Statement of Material Facts re 267 MOTION for Summary Judgment (Redacted) filed
                 by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                 (Netter, Brian) (Entered: 12/04/2020)
12/04/2020   268 Memorandum in Support re 267 MOTION for Summary Judgment (Redacted) filed by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter,
                 Brian) (Entered: 12/04/2020)
12/04/2020   267 MOTION for Summary Judgment by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University.Responses due by 12/25/2020 (Netter, Brian) (Entered:
                 12/04/2020)
11/20/2020   266 ORDER: Motion for Leave to File Supplemental Memorandum in Support of
                 Defeanants' Motion to Compel (ECF No. 259 is hereby granted nunc pro tunc to
                 March 26, 2020. The court considered the arguments in the proposed supplemental
                 memorandum and the plaintiff's opposition (ECF No. 260 ) in ruling on the motion to
                 compel. Signed by Judge Alvin W. Thompson on 11/20/2020. (Burks, L.) (Entered:
                 11/20/2020)
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10/05/2020        Set Deadlines: Discovery due by 11/4/2020. Dispositive Motions due by 12/4/2020.
                  (Ferguson, L.) (Entered: 10/08/2020)
10/05/2020   265 ORDER: The Unopposed Motion for Status Conference (ECF No. 261 ) is hereby
                 DENIED as moot. It is so ordered. Signed by Judge Alvin W. Thompson on
                 10/5/2020. (Clough, M.) (Entered: 10/05/2020)
10/05/2020   264 ORDER: Based on input from counsel, the following deadlines will apply. Discovery
                 shall be completed by November 4, 2020. Dispositive motions are due by December 4,
                 2020. Responses to dispositive motions are due by February 2, 2021. Replies in
                 support of dispositive motions are due by March 4, 2021. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 10/5/2020. (Clough, M.) (Entered: 10/05/2020)
09/28/2020   263 ORDER: For the reasons set forth in the attached document, Defendants' Motion to
                 Compel Plaintiffs' Experts Al Otto and Daniel Alexander to Answer Certain
                 Deposition Questions (ECF Nos. 219 and 220 ) is hereby DENIED, and Plaintiffs'
                 Motion for Protective Order Regarding Discovery of the Identities and Data of Their
                 Experts' Clients (ECF Nos. 229 and 230 ) is hereby GRANTED. Signed by Judge
                 Alvin W. Thompson on 9/28/2020. (Mata, E.) (Entered: 09/28/2020)
09/28/2020   262 ORDER: For the reasons set forth in the attached document, Plaintiffs' Motion to
                 Compel Additional Testimony from Defendants' Expert Glenn Poehler (ECF Nos. 236
                 and 237 ) is hereby GRANTED in part and DENIED in part. Signed by Judge Alvin
                 W. Thompson on 9/28/2020. (Mata, E.) (Entered: 09/28/2020)
08/11/2020   261 MOTION for Status Conference Unopposed by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Schlichter, Andrew) (Entered: 08/11/2020)
04/16/2020   260 Memorandum in Opposition to Defendants' Motion For Leave to File Supplemental
                 Memorandum in Support of Defendants' Motion to Compel Plaintiffs' Experts Al Otto
                 and Daniel Alexander to Answer Certain Deposition Questions re 259 MOTION for
                 Leave to File Supplemental Memorandum in Support of Defendants' Motion to Compel
                 Plaintiffs' Experts Al Otto and Daniel Alexander to Answer Certain Deposition
                 Questions filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 04/16/2020)
03/26/2020   259 MOTION for Leave to File Supplemental Memorandum in Support of Defendants'
                 Motion to Compel Plaintiffs' Experts Al Otto and Daniel Alexander to Answer Certain
                 Deposition Questions by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Attachments: # 1 Proposed Supplemental Memorandum, # 2 Exhibit
                 A to Proposed Supplemental Memorandum)(Netter, Brian) (Entered: 03/26/2020)
02/28/2020   258 ORDER: Plaintiffs' Motion to Seal Regarding Plaintiffs' Reply Memorandum in
                 Support of Plaintiffs' Motion to Compel Additional Testimony from Defendants'
                 Expert Glenn Poehler (ECF No. 255 ) is hereby GRANTED. It is so ordered. Signed
                 by Judge Alvin W. Thompson on 2/28/2020. (Brambila, N.) (Entered: 02/28/2020)
02/27/2020   257 Sealed Document: Plaintiffs' Reply Memorandum in Support of Plaintiffs' Motion to
                 Compel Additional Testimony from Defendants' Expert Glenn Poehler by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 237 SEALED MOTION
                 to Compel Additional Testimony From Defendants' Expert Glenn Poehler .
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Schlichter, Andrew)
                 (Entered: 02/27/2020)
02/27/2020   256 REPLY to Response to 236 MOTION to Compel Additional Testimony From
                 Defendants' Expert Glenn Poehler (redacted) filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit 1 (slipsheet), # 2
                 Exhibit 2 (slipsheet), # 3 Exhibit 3 (slipsheet))(Schlichter, Andrew) (Entered:
                 02/27/2020)
02/27/2020   255 MOTION to Seal Plaintiffs' Reply Memorandum in Support of Plaintiffs' Motion to
                 Compel Additional Testimony from Defendants' Expert Glenn Poehler by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew)
                 (Entered: 02/27/2020)
02/24/2020   254 ORDER: Plaintiffs' Motion to Seal Regarding Plaintiffs' Reply Memorandum In
                 Support of Plaintiffs' Motion for Protective Order (ECF No. 251 ) is hereby
                 GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 2/24/2020.
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                  (Brambila, N.) (Entered: 02/24/2020)
02/21/2020   253 Sealed Document: Plaintiffs' Reply in Support of Motion for Protective Order by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 230 SEALED
                 MOTION Motion for Protective Order . (Schlichter, Andrew) (Entered: 02/21/2020)
02/21/2020   252 REPLY to Response to 229 MOTION for Protective Order (redacted) filed by Nancy
                 S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew)
                 (Entered: 02/21/2020)
02/21/2020   251 MOTION to Seal Plaintiffs' Reply in Support of Motion for Protective Order by Nancy
                 S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Andrew)
                 (Entered: 02/21/2020)
02/14/2020   250 ORDER: Defendants' Motion to Seal Regarding Defendants' Memorandum In
                 Opposition to Plaintiffs' Motion to Compel Additional Testimony from Defendants'
                 Expert Glenn Poehler (ECF No. 247 ) is hereby GRANTED. It is so ordered. Signed
                 by Judge Alvin W. Thompson on 2/14/2020. (Brambila, N.) (Entered: 02/14/2020)
02/13/2020   249 Sealed Document: Defendants' Memorandum in Opposition to Plaintiffs' Motion to
                 Compel Additional Testimony From Defendants' Expert Glenn Poehler by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University re 247 MOTION to
                 Seal Defendants' Memorandum in Opposition to Plaintiffs' Motion to Compel
                 Additional Testimony From Defendants' Expert Glenn Poehler . (Attachments: # 1
                 Declaration of Brian D. Netter, # 2 Exhibit A to Netter Declaration, # 3 Exhibit B to
                 Netter Declaration, # 4 Exhibit C to Netter Declaration, # 5 Declaration of Glenn
                 Poehler)(Netter, Brian) (Entered: 02/13/2020)
02/13/2020   248 Memorandum in Opposition [Redacted] re 236 MOTION to Compel Additional
                 Testimony From Defendants' Expert Glenn Poehler filed by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1 Declaration
                 of Brian D. Netter [Redacted], # 2 Exhibit A to Netter Declaration [Redacted], # 3
                 Exhibit B to Netter Declaration [Redacted], # 4 Exhibit C to Netter Declaration
                 [Redacted], # 5 Declaration of Glenn Poehler [Redacted])(Netter, Brian) (Entered:
                 02/13/2020)
02/13/2020   247 MOTION to Seal Defendants' Memorandum in Opposition to Plaintiffs' Motion to
                 Compel Additional Testimony From Defendants' Expert Glenn Poehler by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian)
                 (Entered: 02/13/2020)
02/03/2020   246 ORDER: Defendants' Motion to Seal Regarding Defendants' Memorandum in
                 Opposition to Plaintiffs' Motion for Protective Order Regarding Discovery of the
                 Identities and Data of Their Experts' Clients (ECF No. 242 ) is hereby GRANTED. It
                 is so ordered. Signed by Judge Alvin W. Thompson on 2/3/2020. (Brambila, N.)
                 (Entered: 02/03/2020)
02/03/2020   245 ORDER: Defendants' Motion to Seal Regarding Defendants' Reply in Support of
                 Motion to Compel Plaintiffs' Experts Al Otto and Daniel Alexander to Answer Certain
                 Deposition Questions (ECF No. 239 ) is hereby GRANTED. It is so ordered. Signed
                 by Judge Alvin W. Thompson on 2/3/2020. (Brambila, N.) (Entered: 02/03/2020)
01/31/2020   244 Memorandum in Opposition [Redacted] re 229 MOTION for Protective Order filed by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter,
                 Brian) (Entered: 01/31/2020)
01/31/2020   243 Sealed Document: Defendants' Memorandum in Opposition to Plaintiffs' Motion for
                 Protective Order Regarding Discovery of the Identities and Data of Their Experts'
                 Clients by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University re 242 MOTION to Seal Defendants' Memorandum in Opposition to
                 Plaintiffs' Motion for Protective Order Regarding Discovery of the Identities and Data
                 of Their Experts' Clients . (Netter, Brian) (Entered: 01/31/2020)
01/31/2020   242 MOTION to Seal Defendants' Memorandum in Opposition to Plaintiffs' Motion for
                 Protective Order Regarding Discovery of the Identities and Data of Their Experts'
                 Clients by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Netter, Brian) (Entered: 01/31/2020)
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01/31/2020   241 REPLY to Response to 219 MOTION to Compel Plaintiffs' Experts Al Otto and
                 Daniel Alexander to Answer Certain Deposition Questions [Redacted] [Redacted
                 Reply in Support of Motion to Compel] filed by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 01/31/2020)
01/31/2020   240 Sealed Document: Defendants' Reply in Support of Motion to Compel Plaintiffs'
                 Experts Al Otto and Daniel Alexander to Answer Certain Deposition Questions by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University re 239
                 MOTION to Seal Defendants' Reply in Support of Motion to Compel Plaintiffs'
                 Experts Al Otto and Daniel Alexander to Answer Certain Deposition Questions .
                 (Netter, Brian) (Entered: 01/31/2020)
01/31/2020   239 MOTION to Seal Defendants' Reply in Support of Motion to Compel Plaintiffs'
                 Experts Al Otto and Daniel Alexander to Answer Certain Deposition Questions by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter,
                 Brian) (Entered: 01/31/2020)
01/27/2020   238 ORDER: Plaintiffs' Motion to Seal Regarding Memorandum in Support of Motion to
                 Compel Additional Testimony From Defendants' Expert Glenn Poehler (ECF No. 235
                 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 1/27/2020. (Brambila, N.) (Entered: 01/27/2020)
01/23/2020   237 SEALED MOTION to Compel Additional Testimony From Defendants' Expert Glenn
                 Poehler by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Affidavit of Alexander Braitberg, # 2 Memorandum in Support, # 3
                 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D)(Schlichter, Andrew) (Entered:
                 01/23/2020)
01/23/2020   236 MOTION to Compel Additional Testimony From Defendants' Expert Glenn Poehler
                 by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.Responses due
                 by 2/13/2020 (Attachments: # 1 Affidavit of Alexander Braitberg, # 2 Memorandum in
                 Support (redacted), # 3 Exhibit A (slipsheet), # 4 Exhibit B (slipsheet), # 5 Exhibit C
                 (slipsheet), # 6 Exhibit D (slipsheet))(Schlichter, Andrew) (Entered: 01/23/2020)
01/23/2020   235 MOTION to Seal Memorandum in Support of Plaintiffs' Motion to Compel Additional
                 Testimony From Defendants' Expert Glenn Poehler and Supporting Documents by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter,
                 Andrew) (Entered: 01/23/2020)
01/17/2020         Set/Reset Deadlines as to 230 SEALED MOTION Motion for Protective Order.
                   Responses due by 2/21/2020. (Ferguson, L.) (Entered: 01/21/2020)
01/17/2020         Set/Reset Deadlines as to 219 MOTION to Compel Plaintiffs' Experts Al Otto and
                   Daniel Alexander to Answer Certain Deposition Questions [Redacted]. Responses due
                   by 1/31/2020. (Ferguson, L.) (Entered: 01/21/2020)
01/17/2020   234 ORDER: Joint Motion for a Brief Extension of the Parties' Reply Brief Deadlines
                 (ECF No. 233 ) is hereby GRANTED. Defendants' revised deadline to file their reply
                 brief in support of their Motion to Compel is January 31, 2020. Plaintiffs' deadline to
                 file their reply brief in support of their Motion for Protective Order is February 21,
                 2020. It is so ordered. Signed by Judge Alvin W. Thompson on 1/17/2020. (Brambila,
                 N.) (Entered: 01/17/2020)
01/16/2020   233 Joint MOTION for Extension of Time until 1/31/20 and 2/21/20 for Defendants' Reply
                 in Support of their Motion to Compel and Plaintiffs' Reply in Support of their Motion
                 for Protective Order 230 SEALED MOTION Motion for Protective Order, 220
                 SEALED MOTION to Compel Plaintiffs' Experts Al Otto and Daniel Alexander to
                 Answer Certain Deposition Questions by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 01/16/2020)
01/13/2020   232 ORDER: Motion for Stuart M. Katz to Withdraw as Attorney (ECF No. 225 ) is
                 hereby GRANTED. Attorney Stuart M. Katz terminated. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 1/13/2020. (Ferguson, L.) (Entered: 01/13/2020)
01/13/2020   231 ORDER: The Plaintiffs' Motion to Seal Regarding Motion for Protective Order and
                 Opposition to Defendants' Motion to Compel (ECF No. 226 ) is hereby GRANTED. It
                 is so ordered. Signed by Judge Alvin W. Thompson on 1/13/2020. (Brambila, N.)
                 (Entered: 01/13/2020)
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01/10/2020   230 SEALED MOTION Motion for Protective Order by Nancy S. Lowers, James Mancini,
                 Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Memorandum in Support of
                 Motion for Protective Order, # 2 Declaration of Daniel Alexander, # 3 Declaration of
                 Daniel Alexander, Exh. 1, # 4 Declaration of Daniel Alexander, Exh. 2, # 5
                 Declaration of Daniel Alexander, Exh. 3, # 6 Declaration of Albert Otto, # 7
                 Declaration of Albert Otto, Exh. 1, # 8 Declaration of Albert Otto, Exh. 2, # 9
                 Declaration of Albert Otto, Exh. 3, # 10 Deposition Excerpts of Daniel Alexander, #
                 11 Deposition Excerpts of Albert Otto, # 12 Affidavit of Andrew
                 Schlichter)(Schlichter, Andrew) (Entered: 01/10/2020)
01/10/2020   229 MOTION for Protective Order by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali.Responses due by 1/31/2020 (Attachments: # 1 Memorandum in
                 Support of Motion for Protective Order (redacted), # 2 Declaration of Daniel
                 Alexander (slipsheet), # 3 Declaration of Daniel Alexander, Exh. 1 (slipsheet), # 4
                 Declaration of Daniel Alexander, Exh. 2 (slipsheet), # 5 Declaration of Daniel
                 Alexander, Exh. 3 (slipsheet), # 6 Declaration of Albert Otto (slipsheet), # 7
                 Declaration of Albert Otto, Exh. 1 (slipsheet), # 8 Declaration of Albert Otto, Exh. 2
                 (slipsheet), # 9 Declaration of Albert Otto, Exh. 3 (slipsheet), # 10 Deposition Excerpts
                 of Daniel Alexander (slipsheet), # 11 Deposition Excerpts of Albert Otto (slipsheet), #
                 12 Affidavit of Andrew Schlichter)(Schlichter, Andrew) (Entered: 01/10/2020)
01/10/2020   228 Sealed Document: Memorandum in Opposition To Defendants' Motion to Compel by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 220 SEALED
                 MOTION to Compel Plaintiffs' Experts Al Otto and Daniel Alexander to Answer
                 Certain Deposition Questions . (Attachments: # 1 Declaration of Daniel Alexander, # 2
                 Declaration of Daniel Alexander, Exh. 1, # 3 Declaration of Daniel Alexander, Exh. 2,
                 # 4 Declaration of Daniel Alexander, Exh. 3, # 5 Declaration of Albert Otto, # 6
                 Declaration of Albert Otto, Exh. 1, # 7 Declaration of Albert Otto, Exh. 2, # 8
                 Declaration of Albert Otto, Exh. 3, # 9 Deposition Excerpts of Daniel Alexander, # 10
                 Deposition Excerpts of Albert Otto)(Schlichter, Andrew) (Entered: 01/10/2020)
01/10/2020   227 Memorandum in Opposition (redacted) re 219 MOTION to Compel Plaintiffs' Experts
                 Al Otto and Daniel Alexander to Answer Certain Deposition Questions [Redacted]
                 filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Attachments: # 1 Affidavit Declaration of Daniel Alexander (slipsheet), # 2 Exhibit
                 Declaration of Daniel Alexander, Exh. 1 (slipsheet), # 3 Exhibit Declaration of Daniel
                 Alexander, Exh. 2 (slipsheet), # 4 Exhibit Declaration of Daniel Alexander, Exh. 3
                 (slipsheet), # 5 Affidavit Declaration of Albert Otto (slipsheet), # 6 Exhibit
                 Declaration of Albert Otto, Exh. 1 (slipsheet), # 7 Exhibit Declaration of Albert Otto,
                 Exh. 2 (slipsheet), # 8 Exhibit Declaration of Albert Otto, Exh. 3 (slipsheet), # 9
                 Exhibit Deposition Excerpts of Daniel Alexander (slipsheet), # 10 Exhibit Deposition
                 Excerpts of Albert Otto (slipsheet))(Schlichter, Andrew) (Entered: 01/10/2020)
01/10/2020   226 MOTION to Seal Memorandum in Support of Motion for Protective Order and
                 supporting documents and Memorandum in Opposition to Motion to Compel and
                 supporting documents by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Schlichter, Andrew) (Entered: 01/10/2020)
01/10/2020   225 MOTION for Stuart M. Katz to Withdraw as Attorney by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Katz, Stuart) (Entered: 01/10/2020)
01/10/2020   224 NOTICE of Appearance by Ari J. Hoffman on behalf of Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali (Hoffman, Ari) (Entered: 01/10/2020)
01/07/2020   223 ORDER: Defendants' Motion to Modify the Schedule and Extend Pretrial Deadlines
                 Pending a Decision on Defendants' Motion to Compel (ECF No. 221 ) is hereby
                 GRANTED. The parties shall contact chambers to confirm the new pretrial deadlines
                 once the decision on the motion to compel is filed. Signed by Judge Alvin W.
                 Thompson on 1/7/2020. (Brambila, N.) (Entered: 01/07/2020)
12/23/2019   222 ORDER: Motion to Seal Defendants' Motion to Compel Plaintiffs' Experts Daniel
                 Alexander and Al Otto to Answer Certain Deposition Questions (ECF No. 218 ) is
                 hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 12/23/19. (Ferguson, L.) (Entered: 12/23/2019)
12/20/2019   221 MOTION for Extension of Time until 30 Days from the Date of Decision on 219
                 MOTION to Compel re: Pretrial Deadlines by Michael A. Peel, The Retirement Plan
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                  Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 12/20/2019)
12/20/2019   220 SEALED MOTION to Compel Plaintiffs' Experts Al Otto and Daniel Alexander to
                 Answer Certain Deposition Questions by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Memorandum in Support, #
                 2 Declaration of Brian D. Netter, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6
                 Exhibit D, # 7 Exhibit E, # 8 Exhibit F)(Netter, Brian) (Entered: 12/20/2019)
12/20/2019   219 MOTION to Compel Plaintiffs' Experts Al Otto and Daniel Alexander to Answer
                 Certain Deposition Questions [Redacted] by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University.Responses due by 1/10/2020 (Attachments: # 1
                 Memorandum in Support [Redacted], # 2 Declaration of Brian D. Netter, # 3 Exhibit A
                 [Redacted], # 4 Exhibit B [Redacted], # 5 Exhibit C [Redacted], # 6 Exhibit D
                 [Redacted], # 7 Exhibit E [Redacted], # 8 Exhibit F [Redacted])(Netter, Brian)
                 (Entered: 12/20/2019)
12/20/2019   218 MOTION to Seal Defendants' Motion to Compel Plaintiffs' Experts Daniel Alexander
                 and Al Otto to Answer Certain Deposition Questions by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered:
                 12/20/2019)
12/11/2019   217 ORDER: Per the attached order, Defendants' Motion to Strike and In Limine (ECF No.
                 175 ) and Defendants' Second Motion In Limine to Exclude Evidence Related to
                 Unpleaded Claims (ECF Nos. 192 and 193 ) are hereby DENIED. It is so ordered.
                 Signed by Judge Alvin W. Thompson on 12/11/2019. (Brambila, N.) (Entered:
                 12/11/2019)
12/11/2019   216 ORDER: Per an email received from defense counsel on 12/11/2019, Defendants'
                 Emergency Motion to Stay Expert Discovery Deadlines Pending Resolution of
                 Defendants' Motions In Limine (ECF No. 194 ) is hereby DENIED as moot. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 12/11/2019. (Brambila, N.)
                 (Entered: 12/11/2019)
12/11/2019   215 ORDER: Motion for Leave to File Supplemental Memorandum in Support of
                 Defendants' Motion to Strike and In Limine (ECF No. 190 ) is hereby DENIED as
                 moot because the court is striking from the docket the documents sought to be filed
                 under seal. It is so ordered. Signed by Judge Alvin W. Thompson on 12/11/2019.
                 (Brambila, N.) (Entered: 12/11/2019)
12/11/2019   214 ORDER: Motion for Leave to File Supplemental Memorandum In Support of
                 Defendants' Motion to Strike and In Limine (ECF No. 189 ) is hereby GRANTED in
                 part and DENIED in part. The court is considering the supplemental memorandum but
                 has ordered the Clerk to strike from the docket ECF Nos. 189−3 and 190−3. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 12/11/2019. (Brambila, N.)
                 (Entered: 12/11/2019)
12/11/2019   213 ORDER: Motion to Provisionally Seal Portions of Defendants' Second Motion In
                 Limine to Exclude Evidence Related to Unpleaded Claims and Supporting Documents
                 (ECF No. 191 ) is hereby DENIED as moot because the court is striking from the
                 docket the documents sought to be filed under seal. It is so ordered. Signed by Judge
                 Alvin W. Thompson on 12/11/2019. (Brambila, N.) (Entered: 12/11/2019)
12/11/2019   212 ORDER: Motion to Provisionally Seal Portions of Defendants' Motion for Leave to
                 File Supplemental Memorandum In Support of Defendants' Motion to Strike and In
                 Limine and Supporting Documents (ECF No. 188 ) is hereby DENIED as moot
                 because the court is striking from the docket the document sought to be filed under
                 seal. It is so ordered. Signed by Judge Alvin W. Thompson on 12/11/2019. (Brambila,
                 N.) (Entered: 12/11/2019)
12/11/2019   211 ORDER: Consistent with the Order Re Defendants' Motions in Limine, which is being
                 filed today, the Clerk is hereby ordered to STRIKE from the docket ECF Nos. 192−3,
                 192−4, 193−3 and 193−4. It is so ordered. Signed by Judge Alvin W. Thompson on
                 12/11/2019. (Brambila, N.) (Entered: 12/11/2019)
12/11/2019   210 ORDER: Consistent with the Order Re Defendants' Motions in Limine, which is being
                 filed today, the Clerk is hereby ordered to STRIKE from the docket ECF Nos. 189−3
                 and 190−3. It is so ordered. Signed by Judge Alvin W. Thompson on 12/11/2019.
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                   (Brambila, N.) (Entered: 12/11/2019)
10/25/2019   209 ORDER: The Defendants' Consent Motion to Extend Expert Deposition Deadline By
                 One Day (ECF No. 208 ) is hereby GRANTED up to and including December 6, 2019.
                 It is so ordered. Signed by Judge Alvin W. Thompson on 10/25/2019. (Brambila, N.)
                 (Entered: 10/25/2019)
10/23/2019   208 Consent MOTION for Extension of Time until 12/6/2019 for Expert Deposition
                 Deadline by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Netter, Brian) (Entered: 10/23/2019)
10/04/2019   207 Sealed Document: Defendants' Reply in Support of Their Second Motion in Limine by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University re 193
                 SEALED MOTION Second Motion In Limine to Exclude Evidence Related to
                 Unpleaded Claims . (Attachments: # 1 Declaration of Brian D. Netter, # 2 Exhibit 1, #
                 3 Exhibit 2, # 4 Exhibit 3)(Netter, Brian) (Entered: 10/04/2019)
10/04/2019   206 REPLY to Response to 191 MOTION to Seal Portions of Defendants' Second Motion
                 in Limine to Exclude Evidence Related to Unpleaded Claims and Supporting
                 Documents filed by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University. (Netter, Brian) (Entered: 10/04/2019)
10/04/2019   205 REPLY to Response to 192 Second MOTION in Limine to Exclude Evidence Related
                 to Unpleaded Claims [Redacted Version] filed by Michael A. Peel, The Retirement
                 Plan Fiduciary Committee, Yale University. (Attachments: # 1 Declaration of Brian D.
                 Netter, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3)(Netter, Brian) (Entered: 10/04/2019)
10/04/2019   204 REPLY to Response to 189 MOTION for Leave to File Supplemental Memorandum in
                 Support of Defendants' Motion to Strike and In Limine [Redacted Version] filed by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter,
                 Brian) (Entered: 10/04/2019)
09/30/2019   203 CERTIFICATE OF GOOD STANDING re 183 MOTION for Attorney(s) Alexandra
                 R. Saslaw to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                 ACTDC−5353132) by Michael A. Peel, Yale University. (Saslaw, Alexandra)
                 (Entered: 09/30/2019)
09/24/2019   202 ORDER: As per the attached ruling, the Plaintiffs' Motion for Class Certification (ECF
                 No. 137 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson
                 on 9/24/2019. (Brambila, N.) (Entered: 09/24/2019)
09/20/2019   201 RESPONSE re 191 MOTION to Seal Portions of Defendants' Second Motion in
                 Limine to Exclude Evidence Related to Unpleaded Claims and Supporting Documents,
                 188 MOTION to Seal Portions of Defendants' Motion for Leave to File Supplemental
                 Memorandum in Support of Defendants' Motion to Strike and In Limine and
                 Supporting Documents filed by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Schlichter, Andrew) (Entered: 09/20/2019)
09/20/2019   200 Memorandum in Opposition re 192 Second MOTION in Limine to Exclude Evidence
                 Related to Unpleaded Claims [Redacted Version] filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit A, # 2 Exhibit
                 B)(Schlichter, Andrew) (Entered: 09/20/2019)
09/20/2019   199 Memorandum in Opposition re 189 MOTION for Leave to File Supplemental
                 Memorandum in Support of Defendants' Motion to Strike and In Limine [Redacted
                 Version] filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 09/20/2019)
09/18/2019   198 REPLY to Response to 194 Emergency MOTION to Stay Expert Discovery Deadlines
                 Pending Resolution of Defendants' Motions in Limine filed by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered:
                 09/18/2019)
09/16/2019   197 Memorandum in Opposition re 194 Emergency MOTION to Stay Expert Discovery
                 Deadlines Pending Resolution of Defendants' Motions in Limine filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1
                 Declaration of Alexander L. Braitberg, # 2 Exhibit A, # 3 Exhibit B)(Schlichter,
                 Andrew) (Entered: 09/16/2019)
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09/09/2019   196 ORDER: Motion to Withdraw as Attorney (ECF No. 195 ) is hereby GRANTED.
                 Attorney Matthew A. Waring terminated. It is so ordered. Signed by Judge Alvin W.
                 Thompson on 9/9/19. (Ferguson, L.) (Entered: 09/09/2019)
09/06/2019   195 MOTION for Matthew A. Waring to Withdraw as Attorney by Michael A. Peel, Yale
                 University. (Waring, Matthew) (Entered: 09/06/2019)
08/30/2019   194 Emergency MOTION to Stay Expert Discovery Deadlines Pending Resolution of
                 Defendants' Motions in Limine by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University.Responses due by 9/20/2019 (Attachments: # 1
                 Memorandum in Support, # 2 Declaration of Brian D. Netter)(Netter, Brian) Modified
                 on 9/4/2019 to remove text that this motion is referred to the Magistrate Judge; entered
                 by the System in error (Ferguson, L.). (Entered: 08/30/2019)
08/30/2019   193 SEALED MOTION Second Motion In Limine to Exclude Evidence Related to
                 Unpleaded Claims by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Attachments: # 1 Memorandum in Support, # 2 Declaration of Brian
                 D. Netter, STRICKEN − #(3) Exhibit 1, STRICKEN − # 4 Exhibit 2)(Netter, Brian)
                 Modified on 9/4/2019 to remove text that this motion is referred to the Magistrate
                 Judge; entered by the System in error (Ferguson, L.). Modified on 12/13/2019 to Strike
                 ECF Nos. 193−3 and 193−4 (Ferguson, L.). (Entered: 08/30/2019)
08/30/2019   192 Second MOTION in Limine to Exclude Evidence Related to Unpleaded Claims
                 [Redacted Version] by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University.Responses due by 9/20/2019 (Attachments: # 1 Memorandum in
                 Support [Redacted], # 2 Declaration of Brian D. Netter, STRICKEN − # 3 Exhibit 1
                 [Redacted], STRICKEN − # 4 Exhibit 2 [Redacted])(Netter, Brian) Modified on
                 9/4/2019 to remove text that this motion is referred to the Magistrate Judge; entered by
                 the System in error (Ferguson, L.). Modified on 12/13/2019 to Strike ECF Nos. 192−3
                 and 192−4 (Ferguson, L.). Modified on 12/13/2019 to edit text(Ferguson, L.).
                 (Entered: 08/30/2019)
08/30/2019   191 MOTION to Seal Portions of Defendants' Second Motion in Limine to Exclude
                 Evidence Related to Unpleaded Claims and Supporting Documents by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian)
                 Modified on 9/4/2019 to remove text that this motion is referred to the Magistrate
                 Judge; entered by the System in error (Ferguson, L.). (Entered: 08/30/2019)
08/30/2019   190 SEALED MOTION for Leave to File Supplemental Memorandum in Support of
                 Defendants' Motion to Strike and In Limine by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Proposed Supplemental
                 Memorandum, # 2 Declaration of Brian D. Netter, STRICKEN − # 3 Exhibit
                 1)(Netter, Brian) Modified on 9/4/2019 to remove text that this motion is referred to
                 the Magistrate Judge; entered by the System in error(Ferguson, L.). Modified on
                 12/13/2019 To Strike ECF No. 190−3 (Ferguson, L.). (Entered: 08/30/2019)
08/30/2019   189 MOTION for Leave to File Supplemental Memorandum in Support of Defendants'
                 Motion to Strike and In Limine [Redacted Version] by Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1 Redacted
                 Proposed Supplemental Memorandum, # 2 Declaration of Brian D. Netter,
                 STRICKEN − # 3 Exhibit 1 − Redacted)(Netter, Brian) Modified on 9/4/2019 to
                 remove text that this motion is referred to the Magistrate Judge; entered by the System
                 in error (Ferguson, L.). Modified on 12/13/2019 to Strike ECF No. 189−3 (Ferguson,
                 L.). (Entered: 08/30/2019)
08/30/2019   188 MOTION to Seal Portions of Defendants' Motion for Leave to File Supplemental
                 Memorandum in Support of Defendants' Motion to Strike and In Limine and
                 Supporting Documents by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Netter, Brian) Modified on 9/4/2019 to remove text that
                 this motion is referred to the Magistrate Judge; entered by the System in error
                 (Ferguson, L.). (Entered: 08/30/2019)
08/22/2019         Set Deadlines: Dispositive Motions due by 1/24/2020 (Ferguson, L.) (Entered:
                   08/23/2019)
08/22/2019   187 ORDER: The Motion for Extension of Time Regarding Pre−Trial Deadlines (ECF No.
                 178 ) is hereby GRANTED. The dates set forth in the attached order shall apply. It is
                 so ordered. Signed by Judge Alvin W. Thompson on 8/22/2019. (Jerjian, O.) (Entered:
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                  08/22/2019)
08/05/2019   186 ORDER: The Motion for Attorney Alexandra R. Saslaw to be Admitted Pro Hac Vice
                 (ECF No. 183 ) is hereby GRANTED. Certificate of Good Standing due by 10/4/2019.
                 It is so ordered. Signed by Judge Alvin W. Thompson on 8/5/2019. (Jerjian, O.)
                 (Entered: 08/05/2019)
08/01/2019   185 Amended EXHIBIT (Amended Declaration of Alexandra R. Saslaw) by Michael A.
                 Peel, Yale University re 183 MOTION for Attorney(s) Alexandra R. Saslaw to be
                 Admitted Pro Hac Vice (paid $75 PHV fee; receipt number ACTDC−5353132).
                 (Williams, James) (Entered: 08/01/2019)
07/26/2019   184 PROPOSED ORDER re 178 MOTION for Extension of Time Regarding Pre−Trial
                 Deadlines by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                 (Schlichter, Andrew) (Entered: 07/26/2019)
07/10/2019   183 MOTION for Attorney(s) Alexandra R. Saslaw to be Admitted Pro Hac Vice (paid $75
                 PHV fee; receipt number ACTDC−5353132) by Michael A. Peel, Yale University.
                 (Attachments: # 1 Declaration of Alexandra R. Saslaw)Motions referred to Robert A.
                 Richardson(Williams, James) (Entered: 07/10/2019)
07/05/2019   182 Notice of Additional Authority re 137 MOTION to Certify Class filed by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Order in
                 Cates v. Columbia University, # 2 Order in Cunningham v. Cornell
                 University)(Soyars, Sean) (Entered: 07/05/2019)
07/04/2019   181 ORDER: The Motion for Leave to File Supplemental Brief Regarding Additional
                 Authorities Supporting Class Certification (ECF No. 180 ) is hereby GRANTED. It is
                 so ordered. Signed by Judge Alvin W. Thompson on 7/3/2019. (Jerjian, O.) (Entered:
                 07/04/2019)
07/02/2019   180 MOTION for Leave to File Supplemental Brief in Support of Class Certification by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1
                 Proposed Supplemental Brief)Motions referred to Robert A. Richardson(Soyars, Sean)
                 (Entered: 07/02/2019)
05/28/2019   179 REPLY to Response to 175 MOTION to Strike Plaintiffs' Supplemental Rule 26(a)
                 Disclosures MOTION in Limine filed by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 05/28/2019)
05/21/2019   178 MOTION for Extension of Time Regarding Pre−Trial Deadlines by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Text of
                 Proposed Order)Motions referred to Robert A. Richardson(Schlichter, Andrew)
                 (Entered: 05/21/2019)
05/16/2019   177 Memorandum in Opposition re 175 MOTION to Strike Plaintiffs' Supplemental Rule
                 26(a) Disclosures MOTION in Limine filed by Nancy S. Lowers, James Mancini, Jan
                 M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                 3)(Rohlf, Joel) (Entered: 05/16/2019)
05/02/2019   176 Memorandum in Support re 175 MOTION to Strike Plaintiffs' Supplemental Rule
                 26(a) Disclosures MOTION in Limine filed by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Declaration of Brian D.
                 Netter, # 2 Exhibit A to Netter Declaration, # 3 Exhibit B to Netter Declaration, # 4
                 Exhibit C to Netter Declaration, # 5 Exhibit D to Netter Declaration)(Netter, Brian)
                 (Entered: 05/02/2019)
05/02/2019   175 MOTION to Strike Plaintiffs' Supplemental Rule 26(a) Disclosures, MOTION in
                 Limine by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                 University.Responses due by 5/23/2019 Motions referred to Robert A.
                 Richardson(Netter, Brian) (Entered: 05/02/2019)
04/30/2019   174 ORDER: The Joint Motion for a Limited Extension of the Fact−Discovery Deadline
                 (ECF No. 173 ) is hereby GRANTED up to and including May 22, 2019. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 4/30/2019. (Jerjian, O.) (Entered:
                 04/30/2019)
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04/29/2019   173 Joint MOTION for Extension of Time by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. Motions referred to Robert A. Richardson(Schlichter,
                 Andrew) (Entered: 04/29/2019)
04/19/2019   172 ORDER denying in part, granting in part 161 Motion for Protective Order. See
                 attached ruling, 10 pages. Signed by Judge Robert A. Richardson on
                 4/19/2019.(Landsman, Halle) (Entered: 04/19/2019)
04/01/2019         Set Deadlines: Discovery due by 10/1/2019. Dispositive Motions due by 11/20/2019.
                   (Ferguson, L.) (Entered: 04/02/2019)
04/01/2019   171 ORDER: The Joint Motion to Modify the Schedule and Extend Pre−Trial Deadlines
                 (ECF No. 170 ) is hereby GRANTED. Discovery shall be due by October 1, 2019.
                 Dispositive motions shall be due by November 20, 2019. All other deadlines in the
                 Joint Motion shall apply. It is so ordered. Signed by Judge Alvin W. Thompson on
                 4/1/2019. (Jerjian, O.) (Entered: 04/01/2019)
03/26/2019   170 Joint MOTION for Extension of Time Discovery Deadlines by Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Text of Proposed
                 Order Proposed Order)Motions referred to Robert A. Richardson(Schlichter, Jerome)
                 (Entered: 03/26/2019)
03/19/2019   169 REPLY to Response to 161 Emergency MOTION for Protective Order filed by
                 Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University. (Netter,
                 Brian) (Entered: 03/19/2019)
03/14/2019   168 ORDER: The Motion to Seal Regarding Plaintiffs' Opposition to Defendants' Motion
                 for Protective Order (ECF No. 165 ) is hereby GRANTED. It is so ordered. Signed by
                 Judge Alvin W. Thompson on 3/14/2019. (Jerjian, O.) (Entered: 03/14/2019)
03/12/2019   167 REPLY to Response to 137 MOTION to Certify Class filed by Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit FRE 1006
                 Investment Chart, # 2 Exhibit Vellali dep. excerpts, # 3 Exhibit Mancini dep. excerpts,
                 # 4 Exhibit Taschner dep. excerpts, # 5 Exhibit Lowers dep. excerpts)(Schlichter,
                 Jerome) (Entered: 03/12/2019)
03/11/2019   166 Sealed Document: Exhibit 2 of Plaintiffs' Opposition to Protective Order by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 165 MOTION to Seal
                 Exhibit 2 of Plaintiffs' Opposition to Protective Order . (Schlichter, Andrew) (Entered:
                 03/11/2019)
03/11/2019   165 MOTION to Seal Exhibit 2 of Plaintiffs' Opposition to Protective Order by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Exhibit
                 A)Motions referred to Robert A. Richardson(Schlichter, Andrew) (Entered:
                 03/11/2019)
03/11/2019   164 Memorandum in Opposition to Defendants' Motion for Protective Order re 161
                 Emergency MOTION for Protective Order filed by Nancy S. Lowers, James Mancini,
                 Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Declaration of Alexander
                 Braitberg, # 2 Exhibit 1, # 3 Exhibit 2 (Slip Sheet), # 4 Exhibit 3, # 5 Exhibit 4, # 6
                 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit
                 10)(Schlichter, Andrew) (Entered: 03/11/2019)
03/05/2019   163 ORDER. The Court hereby orders that the upcoming deposition of President Peter
                 Salovey, scheduled for March 7, 2019, be postponed indefinitely. If plaintiff intends
                 on deposing Mr. Salovey, plaintiff is instructed to file a response to the defendant's
                 pending emergency motion for a protective order 161 and address the defendants
                 arguments that (a) Mr. Salovey is an Apex witnesses and (b) plaintiff has not made a
                 sufficient showing to depose such a witness at this time. Signed by Judge Robert A.
                 Richardson on 3/5/2019. (Landsman, Halle) (Entered: 03/05/2019)
03/04/2019   162 ORDER REFERRING CASE to Magistrate Judge Robert A. Richardson for a ruling
                 on the Emergency MOTION for Protective Order (ECF No. 161 ). It is so ordered.
                 Signed by Judge Alvin W. Thompson on 3/4/2019. (Jerjian, O.) (Entered: 03/04/2019)
02/28/2019   161 Emergency MOTION for Protective Order by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University.Responses due by 3/21/2019 (Attachments: # 1
                 Memorandum in Support, # 2 Declaration of Caroline Hendel, # 3 Declaration of
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                  Richard E. Nowak, # 4 Exhibit A, # 5 Exhibit B, # 6 Exhibit C, # 7 Exhibit D, # 8
                  Exhibit E, # 9 Exhibit F, # 10 Exhibit G, # 11 Exhibit H)(Netter, Brian) (Entered:
                  02/28/2019)
02/28/2019   160 CERTIFICATE OF GOOD STANDING re 156 MOTION for Attorney(s) Andrew D.
                 Schlichter to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                 ACTDC−5151554) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Schlichter, Andrew) (Entered: 02/28/2019)
02/28/2019   159 NOTICE of Appearance by Andrew D. Schlichter on behalf of Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali (Schlichter, Andrew) (Entered:
                 02/28/2019)
02/22/2019   158 ORDER: The MOTION for Attorney Andrew D. Schlichter to be Admitted Pro Hac
                 Vice (ECF No. 156 ) is hereby GRANTED. Certificate of Good Standing due by
                 4/23/2019. It is so ordered. Signed by Judge Alvin W. Thompson on 2/22/2019.
                 (Jerjian, O.) (Entered: 02/22/2019)
02/19/2019   157 Memorandum in Opposition re 137 MOTION to Certify Class filed by Michael A.
                 Peel, The Retirement Plan Fiduciary Committee, Yale University. (Attachments: # 1
                 Exhibit 1 − Vellali Dep Excerpts, # 2 Exhibit 2 − Taschner Dep Excerpts, # 3 Exhibit
                 3 − Lowers Dep Excerpts, # 4 Exhibit 4 − Mancini Dep Excerpts)(Netter, Brian)
                 (Entered: 02/19/2019)
02/08/2019   156 MOTION for Attorney(s) Andrew D. Schlichter to be Admitted Pro Hac Vice (paid
                 $75 PHV fee; receipt number ACTDC−5151554) by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz, Stuart)
                 (Entered: 02/08/2019)
02/04/2019        Set/Reset Deadlines as to 137 MOTION to Certify Class. Responses due by 2/19/2019.
                  (Ferguson, L.) (Entered: 02/13/2019)
02/04/2019   155 ORDER: The Joint Status Report (ECF No. 153 ) is hereby APPROVED. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 2/4/2019. (Jerjian, O.) (Entered:
                 02/04/2019)
02/04/2019   154 ORDER: The Consent Motion for an Extension of Time to File Defendants'
                 Opposition to Class Certification (ECF No. 147 ) is hereby GRANTED up to and
                 including February 19, 2019. It is so ordered. Signed by Judge Alvin W. Thompson on
                 2/4/2019. (Jerjian, O.) (Entered: 02/04/2019)
02/01/2019   153 Joint STATUS REPORT by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Rohlf, Joel) (Entered: 02/01/2019)
02/01/2019   152 CERTIFICATE OF GOOD STANDING re 141 MOTION for Attorney(s) Alexander
                 L. Braitberg to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                 ACTDC−5138286) by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Braitberg, Alexander) (Entered: 02/01/2019)
02/01/2019   151 NOTICE of Appearance by Alexander Braitberg on behalf of Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali (Braitberg, Alexander) (Entered:
                 02/01/2019)
02/01/2019   150 CERTIFICATE OF GOOD STANDING re 138 MOTION for Attorney(s) Scott Bumb
                 to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number ACTDC−5130208)
                 by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Bumb, Scott)
                 (Entered: 02/01/2019)
02/01/2019   149 NOTICE of Appearance by Scott Bumb on behalf of Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali (Bumb, Scott) (Entered: 02/01/2019)
01/31/2019   148 NOTICE of Appearance by Richard Nowak on behalf of Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University (Nowak, Richard) (Entered:
                 01/31/2019)
01/31/2019   147 Consent MOTION for Extension of Time to File Response/Reply as to 137 MOTION
                 to Certify Class until 2/19/19 by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Netter, Brian) (Entered: 01/31/2019)
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01/31/2019   146 CERTIFICATE OF GOOD STANDING re 135 MOTION for Attorney(s) Richard E.
                 Nowak to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                 ACTDC−5119118) by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Nowak, Richard) (Entered: 01/31/2019)
01/30/2019   145 ORDER: The Motion for Richard E. Nowak to be Admitted Pro Hac Vice (ECF No.
                 135 ) is hereby GRANTED. Certificate of Good Standing due by 3/31/2019. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 1/30/2019. (Jerjian, O.) (Entered:
                 01/30/2019)
01/30/2019   144 ORDER: The Plaintiffs' Motion for Leave to File Second Amended Complaint (ECF
                 No. 136 ) is hereby DENIED as moot. See ECF No. 143 . It is so ordered. Signed by
                 Judge Alvin W. Thompson on 1/30/2019. (Jerjian, O.) (Entered: 01/30/2019)
01/30/2019   143 ORDER: The Stipulation and Order regarding Unnamed Members of Fiduciary
                 Committee on Investments (ECF No. 140 ) is hereby APPROVED. It is so ordered.
                 Signed by Judge Alvin W. Thompson on 1/30/2019. (Jerjian, O.) (Entered:
                 01/30/2019)
01/30/2019   142 ORDER granting 141 Motion for Attorney Alexander L. Braitberg to be Admitted Pro
                 Hac Vice. Certificate of Good Standing due by 3/31/2019. Signed by Clerk on
                 1/30/2019. (Bozek, M.) (Entered: 01/30/2019)
01/29/2019   141 MOTION for Attorney(s) Alexander L. Braitberg to be Admitted Pro Hac Vice (paid
                 $75 PHV fee; receipt number ACTDC−5138286) by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz, Stuart)
                 (Entered: 01/29/2019)
01/24/2019   140 Proposed STIPULATION and Order Regarding Unnamed Members of Fiduciary
                 Committee on Investments by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Netter, Brian) (Entered: 01/24/2019)
01/24/2019   139 ORDER granting 138 Motion for Attorney Scott Bumb to be Admitted Pro Hac Vice.
                 Certificate of Good Standing due by 3/25/2019. Signed by Clerk on 1/24/2019.
                 (Bozek, M.) (Entered: 01/24/2019)
01/23/2019   138 MOTION for Attorney(s) Scott Bumb to be Admitted Pro Hac Vice (paid $75 PHV
                 fee; receipt number ACTDC−5130208) by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz, Stuart) (Entered:
                 01/23/2019)
01/15/2019   137 MOTION to Certify Class by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali.Responses due by 2/5/2019 (Attachments: # 1 Memorandum in
                 Support, # 2 Affidavit Declaration of Sean E. Soyars, # 3 Exhibit Plan Document, # 4
                 Exhibit 2010 5500, # 5 Exhibit 2011 5500, # 6 Exhibit 2012 5500, # 7 Exhibit 2013
                 5500, # 8 Exhibit 2014 5500, # 9 Exhibit 2015 5500, # 10 Exhibit 2016 5500, # 11
                 Exhibit 2017 5500, # 12 Affidavit Vellali Declaration, # 13 Affidavit Lowers
                 Declaration, # 14 Affidavit Mancini Declaration, # 15 Affidavit Taschner Declaration,
                 # 16 Affidavit Schlichter Declaration and Firm Biography)(Schlichter, Jerome)
                 (Entered: 01/15/2019)
01/15/2019   136 MOTION to Amend/Correct 57 Amended Complaint by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali.Responses due by 2/5/2019 (Attachments: #
                 1 Memorandum in Support, # 2 Affidavit Declaration of Joel D. Rohlf, # 3 Exhibit 1 −
                 Proposed Second Amended Complaint (Redline), # 4 Exhibit 2 − Proposed Second
                 Amended Complaint (Clean), # 5 Exhibit 3 − Correspondence between parties, # 6
                 Exhibit 4 − Defendants Answers and Objections to Interrogatories)(Schlichter,
                 Jerome) (Entered: 01/15/2019)
01/14/2019   135 MOTION for Attorney(s) Richard E. Nowak to be Admitted Pro Hac Vice (paid $75
                 PHV fee; receipt number ACTDC−5119118) by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Declaration of Richard E.
                 Nowak)(Williams, James) (Entered: 01/14/2019)
12/12/2018   134 CERTIFICATE OF GOOD STANDING re 131 MOTION for Attorney(s) Joel Rohlf
                 to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number ACTDC−5042423)
                 by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Rohlf, Joel)
                 (Entered: 12/12/2018)
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12/12/2018   133 NOTICE of Appearance by Joel D. Rohlf on behalf of Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali (Rohlf, Joel) (Entered: 12/12/2018)
11/09/2018   132 ORDER granting 131 Motion for Attorney Joel Rohlf to be Admitted Pro Hac Vice.
                 Certificate of Good Standing due by 1/8/2019. Signed by Clerk on 11/9/2018. (Bozek,
                 M.) (Entered: 11/09/2018)
11/08/2018   131 MOTION for Attorney(s) Joel Rohlf to be Admitted Pro Hac Vice (paid $75 PHV fee;
                 receipt number ACTDC−5042423) by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz, Stuart) (Entered:
                 11/08/2018)
11/07/2018   130 ORDER: The Joint Motion for Scheduling Conference (ECF No. 120 ) is hereby
                 DENIED as moot. See Order approving 26(f) Report deadlines (ECF No. 123 ). It is so
                 ordered. Signed by Judge Alvin W. Thompson on 11/6/2018. (Jerjian, O.) (Entered:
                 11/07/2018)
08/10/2018   129 ORDER: As set forth in the attached order, the Stipulation and Order for Discovery of
                 Hard Copy Documents and Electronically Stored Information (Doc. No. 126 ) is
                 hereby APPROVED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 8/10/2018. (Ly, T.) (Entered: 08/10/2018)
08/08/2018   128 ORDER: The Motion to Withdraw Appearance (Doc. No. 127 ) is hereby GRANTED.
                 The appearance of Attorney Joseph D. Szerejko is hereby terminated. It is so ordered.
                 Signed by Judge Alvin W. Thompson on 8/8/2018. (Ly, T.) (Entered: 08/08/2018)
08/07/2018   127 MOTION for Joseph D. Szerejko to Withdraw as Attorney by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Szerejko, Joseph) (Entered: 08/07/2018)
07/13/2018   126 Proposed STIPULATION and Order for Discovery of Hard Copy Documents and
                 Electronically Stored Information by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Schlichter, Jerome) (Entered: 07/13/2018)
06/09/2018         Set Deadlines: Joint Status Report due by 2/1/2019 (Ferguson, L.) (Entered:
                   07/06/2018)
06/09/2018   125 ORDER RE STATUS REPORT: As set forth in the attached document, the parties
                 shall file a joint status report by February 1, 2019. It is so ordered. Signed by Judge
                 Alvin W. Thompson on 6/9/2018. (Ly, T.) (Entered: 06/09/2018)
06/08/2018         Set Deadlines: Discovery due by 8/1/2019. Dispositive Motions due by 8/13/2019.
                   (Ferguson, L.) (Entered: 07/06/2018)
06/08/2018   124 Minute Entry for proceedings held before Judge Alvin W. Thompson: Telephonic
                 Status Conference held on 6/8/2018. The court is flexible about when the parties
                 would like to resolve the issue of whether to conduct a bench or a jury trial. The court
                 expressed its willingness to have the parties file notices of supplemental authority.
                 Finally, the court suggests that the parties file a joint notice of any issues related to
                 discovery (particularly as to search terms) rather than filing an initial motion to
                 compel. Total time: 10 minutes. (Court Reporter Thompson C.) (Ly, T.) (Entered:
                 06/08/2018)
06/08/2018   123 ORDER: The Report of Parties' Planning Meeting Pursuant to Fed. R. Civ. P. 26(f)
                 (Doc. No. 119 ) is hereby APPROVED. All discovery shall be completed by August 1,
                 2019. Dispositive motions shall be filed by August 13, 2019. All other dates requested
                 in this report are also approved. The court will issue a trial memorandum order once
                 the dispositive motions deadline has passed. REMINDER: please refer to the
                 electronic filing order in civil cases re the requirements for submission of chambers
                 copies. It is so ordered. Signed by Judge Alvin W. Thompson on 6/8/2018. (Ly, T.)
                 (Entered: 06/08/2018)
06/06/2018   122 NOTICE of Appearance by Joseph Daniel Szerejko on behalf of Nancy S. Lowers,
                 James Mancini, Jan M. Taschner, Joseph Vellali (Szerejko, Joseph) (Entered:
                 06/06/2018)
06/01/2018   121 NOTICE OF E−FILED CALENDAR: THIS IS THE ONLY NOTICE
                 COUNSEL/THE PARTIES WILL RECEIVE. Telephonic Status Conference set for
                 6/8/2018 11:00 AM ET (10:00 AM CT) before Judge Alvin W. Thompson.
                 Instructions for dialing−in to the chambers conference line have been emailed to the
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                  parties. (Ly, T.) (Entered: 06/01/2018)
05/15/2018   120 Joint MOTION for Scheduling Conference by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 05/15/2018)
05/15/2018   119 REPORT of Rule 26(f) Planning Meeting. (Netter, Brian) (Entered: 05/15/2018)
04/23/2018   118 CERTIFICATE OF GOOD STANDING re 114 MOTION for Attorney(s) Jed W.
                 Glickstein to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                 ACTDC−4789669) by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                 Yale University. (Glickstein, Jed) (Entered: 04/23/2018)
04/13/2018   117 ANSWER to 57 Amended Complaint with Affirmative Defenses. by Michael A. Peel,
                 The Retirement Plan Fiduciary Committee, Yale University.(Netter, Brian) (Entered:
                 04/13/2018)
04/12/2018   116 NOTICE of Appearance by Jed Wolf Glickstein on behalf of Michael A. Peel, The
                 Retirement Plan Fiduciary Committee, Yale University (Glickstein, Jed) (Entered:
                 04/12/2018)
04/11/2018   115 ORDER granting 114 Motion to Appear Pro Hac Vice Certificate of Good Standing
                 due by 6/10/2018. Signed by Clerk on 4/11/2018. (Enderlin, M.) (Entered: 04/11/2018)
04/10/2018   114 MOTION for Attorney(s) Jed W. Glickstein to be Admitted Pro Hac Vice (paid $75
                 PHV fee; receipt number ACTDC−4789669) by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Declaration of Jed W.
                 Glickstein)(Williams, James) (Entered: 04/10/2018)
03/30/2018   113 ORDER: As set forth in the attached ruling, Defendants' Motion to Dismiss Plaintiffs'
                 Amended Complaint (Doc. No. 62 ) is hereby GRANTED in part and DENIED in part.
                 It is so ordered. Signed by Judge Alvin W. Thompson on 3/30/2018. (Ly, T.) (Entered:
                 03/30/2018)
03/30/2018   112 ORDER: For the reasons set forth in the attached order, Plaintiffs' Motion to Exclude
                 Certain Documents and Exhibits Relied on in the Motion to Dismiss (Doc. No. 70 ) is
                 hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 3/30/2018. (Ly, T.) (Entered: 03/30/2018)
02/09/2018   111 ORDER: The Motion for Withdrawal of Appearance (Doc. No. 110 ) is hereby
                 GRANTED. Attorney Travis Crum's appearance is terminated. It is so ordered. Signed
                 by Judge Alvin W. Thompson on 2/9/2018. (Ly, T.) (Entered: 02/13/2018)
02/05/2018   110 MOTION for Travis Crum to Withdraw as Attorney by Michael A. Peel, Yale
                 University. (Crum, Travis) (Entered: 02/05/2018)
11/17/2017   109 RESPONSE re 106 Notice of Additional Authority, Plaintiffs' Response to Defendants'
                 Supplemental Brief filed by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                 Joseph Vellali. (Schlichter, Jerome) (Entered: 11/17/2017)
11/16/2017   108 ORDER: The plaintiffs' Motion for Leave (Doc. No. 107 ) to file a response to the
                 defendants' Supplemental Brief Regarding Additional Authority (Doc. No. 106 ) is
                 hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 11/16/2017. (Ly, T.) (Entered: 11/17/2017)
11/14/2017   107 MOTION for Leave to File Proposed Response to Defendants' Supplemental Brief
                 Regarding Additional Authority by Nancy S. Lowers, James Mancini, Jan M.
                 Taschner, Joseph Vellali. (Attachments: # 1 Proposed Response to Defendants'
                 Supplemental Brief)(Schlichter, Jerome) (Entered: 11/14/2017)
11/08/2017   106 Supplemental Notice of Additional Authority re 62 MOTION to Dismiss Plaintiffs'
                 Amended Complaint filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Netter,
                 Brian) (Entered: 11/08/2017)
10/25/2017   105 ORDER: The defendants' Motion for Leave to File a Supplemental Brief (Doc. No.
                 104 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 10/25/2017. (Ly, T.) (Entered: 10/26/2017)
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10/20/2017   104 MOTION for Leave to File Supplemental Brief Regarding Additional Authority
                 Supporting the Motion to Dismiss [Dkt. 62] by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Proposed Supplemental
                 Brief, # 2 Exhibit A, # 3 Exhibit B)(Netter, Brian) (Entered: 10/20/2017)
10/11/2017   103 Notice of Additional Authority Plaintiffs' Supplemental Brief Regarding Additional
                 Authorities re 62 MOTION to Dismiss Plaintiffs' Amended Complaint, 70 MOTION to
                 Strike /Exclude under Rule 12(d) Certain Exhibits and Documents Relied Upon in
                 Motion to Dismiss filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                 Vellali. (Attachments: # 1 Cunningham v. Cornell Univ., No. 16−6525, Doc. 107
                 (S.D.N.Y. Sept. 29, 2017), # 2 Tracey v. MIT, No. 16−11620, Doc. 70 (D. Mass. Aug.
                 31, 2017), # 3 Tracey v. MIT, No. 16−11620, Doc. 75 (D. Mass. Sept. 29,
                 2017))(Schlichter, Jerome) (Entered: 10/11/2017)
10/10/2017   102 ORDER: Plaintiffs' Motion for Leave to File a Supplemental Brief (Doc. No. 101 ) is
                 hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 10/10/2017. (Ly, T.) (Entered: 10/11/2017)
10/04/2017   101 MOTION for Leave to File Supplemental Brief Regarding Additional Authorities by
                 Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1
                 Proposed Supplemental Brief, # 2 Cunningham v. Cornell Univ., No. 16−6525, Doc.
                 107 (S.D.N.Y. Sept. 29, 2017), # 3 Tracey v. MIT, No. 16−11620, Doc. 70 (D. Mass.
                 Aug. 31, 2017), # 4 Tracey v. MIT, No. 16−11620, Doc. 75 (D. Mass. Sept. 29,
                 2017))(Schlichter, Jerome) (Entered: 10/04/2017)
10/03/2017   100 Supplemental Notice of Additional Authority re 62 MOTION to Dismiss Plaintiffs'
                 Amended Complaint filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C)(Netter, Brian) (Entered: 10/03/2017)
10/03/2017    99 ORDER: The defendants' Motion for Leave to File a Supplemental Brief (Doc. No. 97
                 ) is hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on
                 10/2/2017. (Ly, T.) (Entered: 10/03/2017)
09/28/2017    98 ORDER: Defendants' Motion to Dismiss (Doc. No. 52 ) is hereby DENIED as moot.
                 (See Amended Complaint (Doc. No. 57 ).) It is so ordered. Signed by Judge Alvin W.
                 Thompson on 9/28/2017. (Ly, T.) (Entered: 09/28/2017)
09/25/2017    97 MOTION for Leave to File Supplemental Brief Regarding Additional Authority
                 Supporting the Motion to Dismiss [Dkt. 62] by Michael A. Peel, The Retirement Plan
                 Fiduciary Committee, Yale University. (Attachments: # 1 Proposed Supplemental
                 Brief, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C)(Netter, Brian) (Entered:
                 09/25/2017)
09/20/2017    96 RESPONSE re 93 Notice of Additional Authority, filed by Nancy S. Lowers, James
                 Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Jerome) (Entered: 09/20/2017)
09/19/2017    95 ORDER: Plaintiffs' Motion for Leave (Doc. No. 94 ) to file a response to Defendants'
                 Supplemental Notice of Additional Authority (Doc. No. 93 ) is hereby GRANTED. It
                 is so ordered. Signed by Judge Alvin W. Thompson on 9/19/2017. (Ly, T.) (Entered:
                 09/20/2017)
09/11/2017    94 MOTION for Leave to File Response to Defendants' Supplemental Brief by Nancy S.
                 Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Proposed
                 Response to Defendants' Supplemental Brief)(Schlichter, Jerome) (Entered:
                 09/11/2017)
08/30/2017    93 Supplemental Notice of Additional Authority re 62 MOTION to Dismiss Plaintiffs'
                 Amended Complaint filed by Michael A. Peel, The Retirement Plan Fiduciary
                 Committee, Yale University. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Netter,
                 Brian) (Entered: 08/30/2017)
08/30/2017    92 ORDER: The motion for leave to file supplemental brief (Doc. No. 91 ) is hereby
                 GRANTED. The defendants shall file their supplemental brief forthwith. It is so
                 ordered. Signed by Judge Alvin W. Thompson on 8/30/17. (Rafferty, M.) (Entered:
                 08/30/2017)
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08/29/2017   91 MOTION for Leave to File Supplemental Brief Regarding Additional Authority
                Supporting the Motion to Dismiss by Michael A. Peel, The Retirement Plan Fiduciary
                Committee, Yale University. (Attachments: # 1 Proposed supplemental brief, # 2
                Exhibit A, # 3 Exhibit B)(Netter, Brian) (Entered: 08/29/2017)
08/24/2017   90 Notice of Additional Authority Plaintiffs' Supplemental Brief Regarding Trial
                Decision in Tibble v. Edison International re 62 MOTION to Dismiss Plaintiffs'
                Amended Complaint filed by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                Joseph Vellali. (Attachments: # 1 Tibble v. Edison Int'l, No. 07−5359, Doc. 567 (C.D.
                Cal. Aug. 16, 2017))(Schlichter, Jerome) (Entered: 08/24/2017)
08/24/2017   89 ORDER: The Motion for Leave to File Supplemental Brief (Doc. No. 88 ) is hereby
                GRANTED. The plaintiffs shall file their supplemental brief forthwith. It is so ordered.
                Signed by Judge Alvin W. Thompson on 8/24/2017. (Rafferty, M.) (Entered:
                08/24/2017)
08/21/2017   88 MOTION for Leave to File Supplemental Brief Regarding Trial Decision in Tibble v.
                Edison International by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph
                Vellali. (Attachments: # 1 Proposed Supplemental Brief Regarding Tibble, # 2 Tibble
                v. Edison Int'l, No. 07−5359, Doc. 567 (C.D. Cal. Aug. 16, 2017))(Schlichter, Jerome)
                (Entered: 08/21/2017)
07/28/2017   87 RESPONSE re 86 Notice of Additional Authority, by Nancy S. Lowers, James
                Mancini, Jan M. Taschner, Joseph Vellali. (Schlichter, Jerome) (Entered: 07/28/2017)
07/27/2017   86 Supplemental Notice of Additional Authority re 62 MOTION to Dismiss Plaintiffs'
                Amended Complaint filed by Michael A. Peel, The Retirement Plan Fiduciary
                Committee, Yale University. (Attachments: # 1 Exhibit A)(Netter, Brian) (Entered:
                07/27/2017)
07/27/2017   85 ORDER: The Plaintiffs' Motion for Leave to File Response to Defendants'
                Supplemental Brief Regarding Additional Authority (Doc. No. 84 ) is hereby
                GRANTED. The defendants shall file their supplemental brief forthwith (see Doc. No.
                83), after which the plaintiffs shall file their response thereto. It is so ordered. Signed
                by Judge Alvin W. Thompson on 07/27/2017. (Rafferty, M.) (Entered: 07/27/2017)
07/20/2017   84 MOTION for Leave to File Response to Defendants' Supplemental Brief by Nancy S.
                Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Attachments: # 1 Proposed
                Response to Defendants' Supplemental Brief)(Schlichter, Jerome) (Entered:
                07/20/2017)
07/06/2017   83 ORDER: Motion for Leave to File Supplemental Brief (Doc. No. 82 ) Regarding
                Additional Authority Supporting the Motion to Dismiss (Doc. No. 62 ) is hereby
                GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 7/6/17.
                (Ferguson, L.) (Entered: 07/07/2017)
06/30/2017   82 MOTION for Leave to File Supplemental Brief Regarding Additional Authority
                Supporting the Motion to Dismiss [Dkt. 62] by Michael A. Peel, The Retirement Plan
                Fiduciary Committee, Yale University. (Attachments: # 1 Proposed Supplemental
                Brief, # 2 Exhibit A − White v Chevron Order)(Netter, Brian) (Entered: 06/30/2017)
06/06/2017   81 RESPONSE re 80 Order on Motion for Leave to File, 78 Notice (Other),, to Notice of
                Supplemental Authority filed by Michael A. Peel, The Retirement Plan Fiduciary
                Committee, Yale University. (Netter, Brian) (Entered: 06/06/2017)
06/05/2017   80 ORDER: The Defendants' Motion for Leave to File a Response to Plaintiffs'
                Supplemental Brief (Doc. No. 79 ) is hereby GRANTED. The defendants shall file
                their response forthwith. It is so ordered. Signed by Judge Alvin W. Thompson on
                6/5/17. (Rafferty, M.) (Entered: 06/05/2017)
05/31/2017   79 MOTION for Leave to File a Response to Plaintiffs' Supplemental Brief Regarding
                Additional Authorities by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                Yale University. (Attachments: # 1 Defendants' Proposed Response to Plaintiffs'
                Supplemental Brief Regarding Additional Authorities)(Netter, Brian) (Entered:
                05/31/2017)
05/30/2017   78 NOTICE by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali re 62
                MOTION to Dismiss Plaintiffs' Amended Complaint, 69 Memorandum in Opposition
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                 to Motion, Supplemental Brief Regarding Additional Authorities Supporting Denial of
                 Motion to Dismiss (Attachments: # 1 Exhibit Henderson v. Emory Univ., No.
                 16−2920, Doc. 61 (N.D. Ga. May 10, 2017), # 2 Exhibit Clark v. Duke Univ., No.
                 16−1044, Doc. 48 (M.D.N.C. May 11, 2017), # 3 Exhibit Am. Compl., Clark v. Duke
                 Univ., # 4 Exhibit Defs.' Mem., Clark v. Duke Univ.))(Schlichter, Jerome) (Entered:
                 05/30/2017)
05/30/2017   77 ORDER: The Motion for Leave to File Supplemental Brief Regarding Additional
                Authorities Supporting Denial of Motion to Dismiss (Doc. No. 76 ) is hereby
                GRANTED. The Plaintiffs shall file the supplemental brief forthwith. It is so ordered.
                Signed by Judge Alvin W. Thompson on 5/30/17. (Rafferty, M.) (Entered: 05/30/2017)
05/17/2017   76 MOTION for Leave to File Supplemental Brief Regarding Additional Authorities
                Supporting Denial of Motion to Dismiss by Nancy S. Lowers, James Mancini, Jan M.
                Taschner, Joseph Vellali. (Attachments: # 1 Supplement Proposed Supplemental Brief
                Regarding Additional Authorities Supporting Denial of Motion to Dismiss, # 2 Exhibit
                Henderson v. Emory Univ., No. 16−2920, Doc. 61 (N.D. Ga. May 10, 2017), # 3
                Exhibit Clark v. Duke Univ., No. 16−1044, Doc. 48 (M.D.N.C. May 11, 2017), # 4
                Exhibit Am. Compl., Clark v. Duke Univ., # 5 Exhibit Defs.' Mem., Clark v. Duke
                Univ.)(Schlichter, Jerome) (Entered: 05/17/2017)
05/15/2017   75 REPLY to Response to 70 MOTION to Strike /Exclude under Rule 12(d) Certain
                Exhibits and Documents Relied Upon in Motion to Dismiss filed by Ranay P. Cirillo,
                Tara Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                (Schlichter, Jerome) (Entered: 05/15/2017)
05/01/2017   74 REPLY to Response to 62 MOTION to Dismiss Plaintiffs' Amended Complaint Re:
                Judicial Notice filed by Michael A. Peel, The Retirement Plan Fiduciary Committee,
                Yale University. (Netter, Brian) (Entered: 05/01/2017)
05/01/2017   73 REPLY to Response to 62 MOTION to Dismiss Plaintiffs' Amended Complaint filed
                by Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale University.
                (Netter, Brian) (Entered: 05/01/2017)
04/03/2017       Set/Reset Deadlines as to 70 MOTION to Strike /Exclude under Rule 12(d) Certain
                 Exhibits and Documents Relied Upon in Motion to Dismiss. Responses due by
                 5/1/2017. (Ferguson, L.) (Entered: 04/07/2017)
04/03/2017   72 ORDER: The motion for extension of time to respond to the motion to exclude (Doc.
                No. 71 ) is hereby GRANTED. The defendants shall file their response to the
                Plaintiffs' Motion to Exclude Certain Documents and Exhibits Relied on in Motion to
                Dismiss (Doc. No. 70 ) by 05/01/17. It is so ordered. Signed by Judge Alvin W.
                Thompson on 04/03/17. (Rafferty, M.) (Entered: 04/03/2017)
03/30/2017   71 Consent MOTION for Extension of Time to File Response/Reply as to 70 MOTION to
                Strike /Exclude under Rule 12(d) Certain Exhibits and Documents Relied Upon in
                Motion to Dismiss until May 1, 2017 by Michael A. Peel, The Retirement Plan
                Fiduciary Committee, Yale University. (Netter, Brian) (Entered: 03/30/2017)
03/27/2017   70 MOTION to Strike /Exclude under Rule 12(d) Certain Exhibits and Documents Relied
                Upon in Motion to Dismiss by Nancy S. Lowers, James Mancini, Jan M. Taschner,
                Joseph Vellali.Responses due by 4/17/2017 (Attachments: # 1 Memorandum in
                Support)(Schlichter, Jerome) (Entered: 03/27/2017)
03/27/2017   69 Memorandum in Opposition re 62 MOTION to Dismiss Plaintiffs' Amended
                Complaint filed by Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali.
                (Attachments: # 1 Affidavit Declaration of Jerome J. Schlichter, # 2 Exhibit Hearing
                Tr. excerpt, Sacerdote v. NYU, # 3 Exhibit 2015 Participant communication excerpt, #
                4 Exhibit Yale Univ. Ret. Acct. Plan, Form 5500, 2010−−2014, excerpts)(Schlichter,
                Jerome) (Entered: 03/27/2017)
03/08/2017   68 ORDER: The Motion to Relieve Sponsoring Attorney from Court Appearances (Doc.
                No. 40 ) is hereby GRANTED in part. Attorney James C. Williams is excused from
                attendance until further order of the court. It is so ordered. Signed by Judge Alvin W.
                Thompson on 3/8/17. (Rafferty, M.) (Entered: 03/08/2017)
02/10/2017       Set/Reset Deadlines as to 62 MOTION to Dismiss Plaintiffs' Amended Complaint.
                 Responses due by 3/27/2017. (Ferguson, L.) (Entered: 02/13/2017)
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02/10/2017   67 AMENDED ORDER: The Defendants' Consent Motion to Seal Unredacted Exhibits
                (Doc. No. 63 ) is hereby GRANTED. The Clerk shall seal Doc. No. 61−3 and 61−12.
                It is so ordered. Signed by Judge Alvin W. Thompson on 2/10/17. (Rafferty, M.)
                (Entered: 02/10/2017)
02/10/2017   66 ORDER: The Joint Motion to Extend Briefing Deadlines (Doc. No. 65 ) is hereby
                GRANTED. The plaintiffs shall file their Response to the Motion to Dismiss (Doc.
                No. 62 ) by 3/27/17. The defendants shall file any reply by 5/1/17. It is so ordered..
                Signed by Judge Alvin W. Thompson on 2/10/17. (Rafferty, M.) (Entered: 02/10/2017)
01/26/2017   65 Joint MOTION for Extension of Time to File Response/Reply as to 62 MOTION to
                Dismiss Plaintiffs' Amended Complaint until 03/27/2017 by Nancy S. Lowers, James
                Mancini, Jan M. Taschner, Joseph Vellali. (Doles, Troy) (Entered: 01/26/2017)
01/26/2017       Docket Entry Correction re 61 MOTION to Dismiss Plaintiffs' Amended Complaint
                 was efiled in error. See document 62 for corrected filing. (Pesta, J.) (Entered:
                 01/26/2017)
01/25/2017   64 ORDER: The Defendants' Consent Motion to Seal Unredacted Exhibits (Doc. No. 63 )
                is hereby GRANTED. The Clerk shall seal Doc. No 61−3 and 62−12. It is so ordered.
                Signed by Judge Alvin W. Thompson on 1/25/17. (Rafferty, M.) (Entered: 01/25/2017)
01/24/2017   63 Consent MOTION to Seal Docket Entries 61−3 and 61−12 by Michael A. Peel, The
                Retirement Plan Fiduciary Committee, Yale University. (Netter, Brian) (Entered:
                01/24/2017)
01/24/2017   62 MOTION to Dismiss Plaintiffs' Amended Complaint by Michael A. Peel, The
                Retirement Plan Fiduciary Committee, Yale University.Responses due by 2/14/2017
                (Attachments: # 1 Memorandum in Support, # 2 Declaration of Hugh Penney, # 3
                Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9
                Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J)(Netter, Brian) (Entered:
                01/24/2017)
01/23/2017   61 ENTERED IN ERROR: MOTION to Dismiss Plaintiffs' Amended Complaint by
                Michael A. Peel, The Retirement Plan Fiduciary Committee, Yale
                University.Responses due by 2/13/2017 (Attachments: # 1 Memorandum in Support, #
                2 Declaration of Hugh K. Penney, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6
                Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I, #
                12 Exhibit J)(Netter, Brian) Modified on 1/24/2017 (Owens, T.). (Entered:
                01/23/2017)
12/22/2016       Answer deadline updated for Michael A. Peel to 1/23/2017; The Retirement Plan
                 Fiduciary Committee to 1/23/2017; Yale University to 1/23/2017. (Ferguson, L.)
                 (Entered: 12/23/2016)
12/22/2016   60 ORDER: The Motion for Extension of Time (Doc. No. 59 ) to respond to the Amended
                Complaint (Doc. No. 57 ) is hereby GRANTED to January 23, 2017. It is so ordered.
                Signed by Judge Alvin W. Thompson on 12/21/16. (Rafferty, M.) (Entered:
                12/22/2016)
12/16/2016   59 MOTION for Extension of Time until January 23, 2017 for Response to Amended
                Complaint 57 Amended Complaint by Michael A. Peel, The Retirement Plan Fiduciary
                Committee, Yale University. (Netter, Brian) (Entered: 12/16/2016)
12/13/2016   58 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4
                as to *The Retirement Plan Fiduciary Committee* with answer to complaint due
                within *21* days. Attorney *Jerome J. Schlichter* *Schlichter, Bogard & Denton,
                LLP* *100 South Fourth St., Suite 1200* *St. Louis, MO 63102*. (Enderlin, M.)
                (Entered: 12/13/2016)
12/12/2016       Request for Clerk to issue summons as to The Retirement Plan Fiduciary Committee.
                 (Schlichter, Jerome) (Entered: 12/12/2016)
12/09/2016   57 AMENDED COMPLAINT against Michael A. Peel, Yale University, The Retirement
                Plan Fiduciary Committee, filed by Joseph Vellali, Jan M. Taschner, Nancy S. Lowers,
                James Mancini.(Schlichter, Jerome) (Entered: 12/09/2016)
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11/14/2016   56 Joint REPORT of Rule 26(f) Planning Meeting. (Lea, Heather) (Entered: 11/14/2016)
10/31/2016       Set/Reset Deadlines as to 52 MOTION to Dismiss for Lack of Jurisdiction. Responses
                 due by 12/9/2016. (Ferguson, L.) (Entered: 11/01/2016)
10/31/2016   55 ORDER: Plaintiffs' Consent Motion to Extend the Time to Respond to Motion to
                Dismiss (Doc. No. 53 ) is hereby GRANTED to December 9. 2016. It is so ordered.
                Signed by Judge Alvin W. Thompson on 10/31/16. (Rafferty, M.) (Entered:
                10/31/2016)
10/25/2016   54 ORDER: Plaintiffs' consent Motion to Withdraw Named Plaintiffs Tara Heard and
                Ranay Cirillo is hereby GRANTED. This Order shall not exclude plaintiffs Heard and
                Cirillo from class membership, if applicable. Plaintiffs Vellali, Lowers, Taschner, and
                Mancini shall remain as named plaintiffs. It is so ordered. Signed by Judge Alvin W.
                Thompson on 10/25/16. (Rafferty, M.) (Entered: 10/25/2016)
10/20/2016   53 Consent MOTION for Extension of Time until 12/09/2016 to File Response to Motion
                to Dismiss or Amend Complaint as of Right by Ranay P. Cirillo, Tara Heard, Nancy S.
                Lowers, James Mancini, Jan M. Taschner, Joseph Vellali. (Doles, Troy) (Entered:
                10/20/2016)
10/17/2016   52 MOTION to Dismiss for Lack of Jurisdiction by Michael A. Peel, Yale
                University.Responses due by 11/7/2016 (Attachments: # 1 Memorandum in Support, #
                2 Declaration of Hugh K. Penney, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6
                Exhibit D)(Netter, Brian) (Entered: 10/17/2016)
10/14/2016   51 Consent MOTION to Withdraw Named Plaintiffs Tara Heard and Ranay Cirillo by
                Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner,
                Joseph Vellali. (Doles, Troy) (Entered: 10/14/2016)
10/12/2016   50 CERTIFICATE OF GOOD STANDING re 45 MOTION for Attorney(s) Travis Crum
                and Matthew Waring to be Admitted Pro Hac Vice (paid $150 PHV fee; receipt
                number 0205−4159469) by Michael A. Peel, Yale University. (Crum, Travis)
                (Entered: 10/12/2016)
10/12/2016   49 NOTICE of Appearance by Travis M. Crum on behalf of Michael A. Peel, Yale
                University (Crum, Travis) (Entered: 10/12/2016)
10/12/2016   48 CERTIFICATE OF GOOD STANDING re 45 MOTION for Attorney(s) Travis Crum
                and Matthew Waring to be Admitted Pro Hac Vice (paid $150 PHV fee; receipt
                number 0205−4159469) by Michael A. Peel, Yale University. (Waring, Matthew)
                (Entered: 10/12/2016)
10/12/2016   47 NOTICE of Appearance by Matthew A. Waring on behalf of Michael A. Peel, Yale
                University (Waring, Matthew) (Entered: 10/12/2016)
10/11/2016   46 ORDER granting 45 Motion to Appear Pro Hac Vice Certificate of Good Standing due
                by 12/10/2016. Signed by Clerk on 10/11/2016. (Enderlin, M.) (Entered: 10/11/2016)
10/07/2016   45 MOTION for Attorney(s) Travis Crum and Matthew Waring to be Admitted Pro Hac
                Vice (paid $150 PHV fee; receipt number 0205−4159469) by Michael A. Peel, Yale
                University. (Attachments: # 1 Declaration of Travis Crum, # 2 Declaration of Matthew
                Waring)(Williams, James) (Entered: 10/07/2016)
09/22/2016   44 ORDER: Consent Motion for Extension of Time Regarding the Deadlines Set Forth in
                Sections (A) and (B) of the Court's Order on Pretrial Deadlines (Doc. No. 43 ) is
                hereby GRANTED. It is so ordered. Signed by Judge Alvin W. Thompson on 9/22/16.
                (Ferguson, L.) (Entered: 09/23/2016)
09/16/2016   43 Consent MOTION for Extension of Time Regarding the Deadlines Set Forth in
                Sections (A) and (B) of the Court's Order on Pretrial Deadlines 9 Order on Pretrial
                Deadlines by Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini, Jan M.
                Taschner, Joseph Vellali. (Doles, Troy) (Entered: 09/16/2016)
09/13/2016   42 CERTIFICATE OF GOOD STANDING re 32 MOTION for Attorney(s) Brian D.
                Netter, Nancy G. Ross, and Michelle N. Webster to be Admitted Pro Hac Vice (paid
                $225 PHV fee; receipt number 0205−4121258) by Michael A. Peel, Yale University.
                (Ross, Nancy) (Entered: 09/13/2016)
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09/13/2016   41 NOTICE of Appearance by Nancy G. Ross on behalf of Michael A. Peel, Yale
                University (Ross, Nancy) (Entered: 09/13/2016)
09/02/2016   40 MOTION to Relieve Sponsoring Attorney from Court Appearances by Michael A.
                Peel, Yale University.Responses due by 9/23/2016 (Netter, Brian) (Entered:
                09/02/2016)
09/02/2016   39 CERTIFICATE OF GOOD STANDING re 32 MOTION for Attorney(s) Brian D.
                Netter, Nancy G. Ross, and Michelle N. Webster to be Admitted Pro Hac Vice (paid
                $225 PHV fee; receipt number 0205−4121258) by Michael A. Peel, Yale University.
                (Webster, Michelle) (Entered: 09/02/2016)
09/02/2016   38 NOTICE of Appearance by Michelle N. Webster on behalf of Michael A. Peel, Yale
                University (Webster, Michelle) (Entered: 09/02/2016)
09/02/2016   37 CERTIFICATE OF GOOD STANDING re 32 MOTION for Attorney(s) Brian D.
                Netter, Nancy G. Ross, and Michelle N. Webster to be Admitted Pro Hac Vice (paid
                $225 PHV fee; receipt number 0205−4121258) by Michael A. Peel, Yale University.
                (Netter, Brian) (Entered: 09/02/2016)
09/02/2016   36 NOTICE of Appearance by Brian D. Netter on behalf of Michael A. Peel, Yale
                University (Netter, Brian) (Entered: 09/02/2016)
09/01/2016       Answer deadline updated for Michael A. Peel to 10/17/2016; Yale University to
                 10/17/2016. (Ferguson, L.) (Entered: 09/02/2016)
09/01/2016   35 ORDER: Defendants' Motion to Clarify or to Extend the Time to Respond to the
                Complaint (Doc. No. 33 ) is hereby GRANTED. The defendants shall respond to the
                complaint by October 17, 2016. It is so ordered. Signed by Judge Alvin W. Thompson
                on 9/1/2016. (Rock, E) (Entered: 09/01/2016)
09/01/2016   34 ORDER granting 32 Motion to Appear Pro Hac Vice Certificates of Good Standing
                due by 10/31/2016. Signed by Clerk on 9/1/2016. (Enderlin, M.) (Entered: 09/01/2016)
08/31/2016   33 MOTION for Clarification 9 Order on Pretrial Deadlines , MOTION for Extension of
                Time until October 17, 2016 to Respond to the Complaint by Michael A. Peel, Yale
                University. (Williams, James) (Entered: 08/31/2016)
08/31/2016   32 MOTION for Attorney(s) Brian D. Netter, Nancy G. Ross, and Michelle N. Webster to
                be Admitted Pro Hac Vice (paid $225 PHV fee; receipt number 0205−4121258) by
                Michael A. Peel, Yale University. (Attachments: # 1 Declaration of Brian D. Netter, #
                2 Declaration of Nancy G. Ross, # 3 Declaration of Michelle N. Webster)(Williams,
                James) (Entered: 08/31/2016)
08/31/2016   31 NOTICE of Appearance by James C. Williams on behalf of Michael A. Peel, Yale
                University (Williams, James) (Entered: 08/31/2016)
08/29/2016   30 SUMMONS Returned Executed by Tara Heard, Joseph Vellali, Ranay P. Cirillo, Jan
                M. Taschner, Nancy S. Lowers, James Mancini. Michael A. Peel served on 8/18/2016,
                answer due 9/8/2016. (Katz, Stuart) (Entered: 08/29/2016)
08/29/2016   29 SUMMONS Returned Executed by Tara Heard, Joseph Vellali, Ranay P. Cirillo, Jan
                M. Taschner, Nancy S. Lowers, James Mancini. Yale University served on 8/18/2016,
                answer due 9/8/2016. (Katz, Stuart) (Entered: 08/29/2016)
08/16/2016   28 NOTICE by Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini, Jan M.
                Taschner, Joseph Vellali re 12 Notice (Schlichter, Jerome) (Entered: 08/16/2016)
08/12/2016   27 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4
                as to *Michael A. Peel, Yale University* with answer to complaint due within *21*
                days. Attorney *Stuart M. Katz* *Cohen & Wolf, P.C.* *1115 Broad St., PO Box
                1821* *Bridgeport, CT 06604*. (Sundie, T) (Entered: 08/12/2016)
08/11/2016   26 CERTIFICATE OF GOOD STANDING re 6 MOTION for Attorney(s) Sean E,
                Soyars to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                0205−4095081) by Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini,
                Jan M. Taschner, Joseph Vellali. (Soyars, Sean) (Entered: 08/11/2016)
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08/11/2016   25 NOTICE of Appearance by Sean E. Soyars on behalf of Ranay P. Cirillo, Tara Heard,
                Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Soyars, Sean)
                (Entered: 08/11/2016)
08/11/2016   24 CERTIFICATE OF GOOD STANDING re 4 MOTION for Attorney(s) Kurt
                Struckhoff to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                0205−4095079) by Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini,
                Jan M. Taschner, Joseph Vellali. (Struckhoff, Kurt) (Entered: 08/11/2016)
08/11/2016   23 NOTICE of Appearance by Kurt C. Struckhoff on behalf of Ranay P. Cirillo, Tara
                Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Struckhoff,
                Kurt) (Entered: 08/11/2016)
08/11/2016   22 CERTIFICATE OF GOOD STANDING re 3 MOTION for Attorney(s) Heather Lea to
                be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number 0205−4095078) by
                Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner,
                Joseph Vellali. (Lea, Heather) (Entered: 08/11/2016)
08/11/2016   21 NOTICE of Appearance by Heather Lea on behalf of Ranay P. Cirillo, Tara Heard,
                Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Lea, Heather)
                (Entered: 08/11/2016)
08/11/2016   20 CERTIFICATE OF GOOD STANDING re 7 MOTION for Attorney(s) Troy Doles to
                be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number 0205−4095082) by
                Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner,
                Joseph Vellali. (Doles, Troy) (Entered: 08/11/2016)
08/11/2016   19 NOTICE of Appearance by Troy A. Doles on behalf of Ranay P. Cirillo, Tara Heard,
                Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Doles, Troy)
                (Entered: 08/11/2016)
08/11/2016   18 CERTIFICATE OF GOOD STANDING re 5 MOTION for Attorney(s) Michael A.
                Wolff to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                0205−4095080) by Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini,
                Jan M. Taschner, Joseph Vellali. (Wolff, Michael) (Entered: 08/11/2016)
08/11/2016   17 NOTICE of Appearance by Michael A. Wolff on behalf of Ranay P. Cirillo, Tara
                Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Wolff,
                Michael) (Entered: 08/11/2016)
08/11/2016   16 CERTIFICATE OF GOOD STANDING re 2 MOTION for Attorney(s) Jerome
                Schlichter to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                0205−4095077) by Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James Mancini,
                Jan M. Taschner, Joseph Vellali. (Schlichter, Jerome) (Entered: 08/11/2016)
08/11/2016   15 NOTICE of Appearance by Jerome J. Schlichter on behalf of Ranay P. Cirillo, Tara
                Heard, Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Schlichter,
                Jerome) (Entered: 08/11/2016)
08/11/2016       Request for Clerk to issue summons as to All Defendants. (Katz, Stuart) (Entered:
                 08/11/2016)
08/09/2016   14 ORDER granting 2 , 3 , 4 , 5 , 6 , 7 Motions to Appear Pro Hac Vice Attorneys Jerome
                J. Schlichter, Troy A. Doles for Ranay P. Cirillo, Tara Heard, Nancy S. Lowers, James
                Mancini, Jan M. Taschner, Joseph Vellali added Certificates of Good Standing due by
                10/8/2016. Signed by Clerk on 8/9/2016. (Hushin, Z.) Modified on 8/9/2016 to correct
                spelling error (Hushin, Z.). (Entered: 08/09/2016)
08/09/2016   13 NOTICE TO COUNSEL/PRO SE PARTIES : Counsel or pro se parties initiating or
                removing this action are responsible for serving all parties with attached documents
                and copies of 4 MOTION for Attorney(s) Kurt Struckhoff to be Admitted Pro Hac
                Vice (paid $75 PHV fee; receipt number 0205−4095079) filed by Jan M. Taschner,
                James Mancini, Ranay P. Cirillo, Nancy S. Lowers, Joseph Vellali, Tara Heard, 1
                Complaint filed by James Mancini, Ranay P. Cirillo, Nancy S. Lowers, Tara Heard, 7
                MOTION for Attorney(s) Troy Doles to be Admitted Pro Hac Vice (paid $75 PHV
                fee; receipt number 0205−4095082) filed by Jan M. Taschner, James Mancini, Ranay
                P. Cirillo, Nancy S. Lowers, Joseph Vellali, Tara Heard, 11 Protective Order, 10
                Electronic Filing Order, 6 MOTION for Attorney(s) Sean E, Soyars to be Admitted
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                 Pro Hac Vice (paid $75 PHV fee; receipt number 0205−4095081) filed by Jan M.
                 Taschner, James Mancini, Ranay P. Cirillo, Nancy S. Lowers, Joseph Vellali, Tara
                 Heard, 5 MOTION for Attorney(s) Michael A. Wolff to be Admitted Pro Hac Vice
                 (paid $75 PHV fee; receipt number 0205−4095080) filed by Jan M. Taschner, James
                 Mancini, Ranay P. Cirillo, Nancy S. Lowers, Joseph Vellali, Tara Heard, 3 MOTION
                 for Attorney(s) Heather Lea to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt
                 number 0205−4095078) filed by Jan M. Taschner, James Mancini, Ranay P. Cirillo,
                 Nancy S. Lowers, Joseph Vellali, Tara Heard, 8 Notice of Appearance filed by Jan M.
                 Taschner, James Mancini, Ranay P. Cirillo, Nancy S. Lowers, Joseph Vellali, Tara
                 Heard, 9 Order on Pretrial Deadlines, 12 Notice, 2 MOTION for Attorney(s) Jerome
                 Schlichter to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number
                 0205−4095077) filed by Jan M. Taschner, James Mancini, Ranay P. Cirillo, Nancy S.
                 Lowers, Joseph Vellali, Tara Heard
                 Signed by Clerk on 8/9/2016.(Hushin, Z.) (Entered: 08/09/2016)
08/09/2016   12 NOTICE RE: INITIAL DISCOVERY PROTOCOLS
                Signed by Clerk on 8/9/2016. (Attachments: # 1 Discovery Attachment)(Hushin, Z.)
                (Entered: 08/09/2016)
08/09/2016   11 STANDING PROTECTIVE ORDER
                Signed by Judge Alvin W. Thompson on 8/9/2016.(Hushin, Z.) (Entered: 08/09/2016)
08/09/2016   10 ELECTRONIC FILING ORDER − PLEASE ENSURE COMPLIANCE WITH
                COURTESY COPY REQUIREMENTS IN THIS ORDER
                Signed by Judge Alvin W. Thompson on 8/9/2016.(Hushin, Z.) (Entered: 08/09/2016)
08/09/2016    9 Order on Pretrial Deadlines: Motions to Dismiss due on 11/9/2016. Amended
                Pleadings due by 10/8/2016 Discovery due by 2/8/2017 Dispositive Motions due by
                3/10/2017
                Signed by Clerk on 8/9/2016.(Hushin, Z.) (Entered: 08/09/2016)
08/09/2016       Judge Alvin W. Thompson added. (Oliver, T.) (Entered: 08/09/2016)
08/09/2016    8 NOTICE of Appearance by Stuart M. Katz on behalf of Ranay P. Cirillo, Tara Heard,
                Nancy S. Lowers, James Mancini, Jan M. Taschner, Joseph Vellali (Katz, Stuart)
                (Entered: 08/09/2016)
08/09/2016    7 MOTION for Attorney(s) Troy Doles to be Admitted Pro Hac Vice (paid $75 PHV
                fee; receipt number 0205−4095082) by Ranay P Cirillo, Tara Heard, Nancy S Lowers,
                James Mancini, Jan M Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz,
                Stuart) (Entered: 08/09/2016)
08/09/2016    6 MOTION for Attorney(s) Sean E, Soyars to be Admitted Pro Hac Vice (paid $75 PHV
                fee; receipt number 0205−4095081) by Ranay P Cirillo, Tara Heard, Nancy S Lowers,
                James Mancini, Jan M Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz,
                Stuart) (Entered: 08/09/2016)
08/09/2016    5 MOTION for Attorney(s) Michael A. Wolff to be Admitted Pro Hac Vice (paid $75
                PHV fee; receipt number 0205−4095080) by Ranay P Cirillo, Tara Heard, Nancy S
                Lowers, James Mancini, Jan M Taschner, Joseph Vellali. (Attachments: # 1
                Affidavit)(Katz, Stuart) (Entered: 08/09/2016)
08/09/2016    4 MOTION for Attorney(s) Kurt Struckhoff to be Admitted Pro Hac Vice (paid $75
                PHV fee; receipt number 0205−4095079) by Ranay P Cirillo, Tara Heard, Nancy S
                Lowers, James Mancini, Jan M Taschner, Joseph Vellali. (Attachments: # 1
                Affidavit)(Katz, Stuart) (Entered: 08/09/2016)
08/09/2016    3 MOTION for Attorney(s) Heather Lea to be Admitted Pro Hac Vice (paid $75 PHV
                fee; receipt number 0205−4095078) by Ranay P Cirillo, Tara Heard, Nancy S Lowers,
                James Mancini, Jan M Taschner, Joseph Vellali. (Attachments: # 1 Affidavit)(Katz,
                Stuart) (Entered: 08/09/2016)
08/09/2016    2 MOTION for Attorney(s) Jerome Schlichter to be Admitted Pro Hac Vice (paid $75
                PHV fee; receipt number 0205−4095077) by Ranay P Cirillo, Tara Heard, Nancy S
                Lowers, James Mancini, Jan M Taschner, Joseph Vellali. (Attachments: # 1
                Affidavit)(Katz, Stuart) (Entered: 08/09/2016)
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08/09/2016   1 COMPLAINT against All Defendants ( Filing fee $400 receipt number
               0205−4095075.), filed by Jan M. Taschner, Joseph Vellali, Tara Heard, Ranay P
               Cirillo, Nancy S Lowers, James Mancini. (Attachments: # 1 Supplement)(Katz, Stuart)
               (Entered: 08/09/2016)
